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7/15/14   DAL Work on PPI brief including review of case                6.80      $6,086.00
               law, multiple TCs and e-mails with Canadian
               and Delaware counsel, colleagues, counsel for
               holders, Milbank and Akin, and revisions to
               draft briefs (6.8).
7/16/14   BPG     Continue reviewing opening briefs (.7); confer        5.10      $3,519.00
                  D. Lowenthal and C. Dent re: same (.3); review
                  case law cited in Monitor's opening brief and
                  work on reply brief (3.6); attention to e-mail re:
                  potential settlement and follow-up (.5).
7/16/14   CWD OC D. Lowenthal and B. Guiney re PPI                      1.70        $969.00
               response briefing, reviewing draft LawDeb
               response re same (.5); follow-up re same,
               reviewing Indenture re same, TC B. Guiney re
               same (.8); e-mails re settlement discussions,
               reviewing Indenture re same, follow-up
               research re Indenture issues re same and e-
               mails re same w/D. Lowenthal (.4).
7/16/14   DAL Review PPI briefs and work on reply brief and             5.60      $5,012.00
                related issues, including review case law and
                briefs, TCs with Milbank and M. Riela, memos
                to J. Heaney, and confer with colleagues (5.2);
                work on fee statement and send to J. Heaney
                (.4).
7/17/14   BPG     Prepare for and participate on weekly call,           2.00      $1,380.00
                  follow-up D. Lowenthal re: settlement issues,
                  confer C. Dent re: same (1.5); review revised
                  reply brief, confer D. Lowenthal and C. Dent
                  re: same, revise same (.5).
7/17/14   CWD OC B. Guiney re 9019 legal issues, TC L.                  1.70        $969.00
               Russo re same, follow-up re same, OC same re
               same (1.1); reviewing revised PPI response, TC
               D. Lowenthal and B. Guiney re same (.6).
7/17/14   DAL     Review and revise draft brief on Interest Issues,     7.00      $6,265.00
                  including TCs and e-mails with J. Heaney, S.
                  Miller, and E. Lamek (5.5); review proposed
                  settlement agreement, including TCs with M.
                  Riela and Milbank (1.0), M. Riela re settlement
                  issues (.5).
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7/18/14   BPG     Review case law re: settlements, review            2.30      $1,587.00
                  proposed settlement, OC D. Lowenthal and C.
                  Dent re: same, follow-up re: same (2.2); revise
                  reply per S. Miller comments (.1).
7/18/14   CWD Reviewing case law re settlement issues, e-            2.30      $1,311.00
               mails re same w/B. Guiney and L. Russo (.6);
               reviewing draft settlement agreement, OC B.
               Guiney re same, meeting re same w/D.
               Lowenthal and B. Guiney (1.7).
7/18/14   DAL Review draft settlement agreement and analyze          3.90      $3,490.50
                Indenture and case law re same; email same to
                J. Heaney; TCs and emails with Milbank and
                M. Riela (3.9).
7/21/14   BPG     Review revised Committee brief, follow-up D.       4.00      $2,760.00
                  Lowenthal re: same, confer C. Dent re: same,
                  input changes re: same and follow-up re: open
                  issues (1.3); review Milbank draft, TC D.
                  Lowenthal re: same and follow-up (1.1); review
                  Canadian brief (.4); participate on Committee
                  call and follow-up D. Lowenthal and C. Dent
                  re: same (1.2).
7/21/14   CWD OC B. Guiney re PPI response and related               2.20      $1,254.00
               issues (.1); reviewing draft Milbank response
               and revisions to Committee reponse (.3);
               reviewing Indenture and related caselaw re
               response brief (.7); Committee call, OC D.
               Lowenthal and B. Guiney re same and Friday
               hearing (1.1).
7/21/14   DAL Work on reply briefing, including review draft         6.20      $5,549.00
               Committee brief and draft Milbank-led brief,
               TC with Milbank with comments, and review
               of draft Canadian brief,TCs M. Riela, and
               multiple tcs and e-mails with J. Heaney, S.
               Miller, E. Lamek, Milbank, and NNCC
               holders' counsel (6.2).
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7/22/14    BPG     Review revised Akin PPI brief (.3); review and        5.50     $3,795.00
                   revise Milbanlc/PBWT brief (1.6); confer D.
                   Lowenthal and C. Dent re: same, additional
                   follow-up re: same (.4); attention to revised
                   Supplemental Brief, confer D. Lowenthal and
                   C. Dent re: same (.6); TC D. Lowenthal re:
                   hearing (.5); attention to revised
                   Milbank/PBWT brief, follow-up re: same (.3);
                   confer D. Lowenthal re: same (.1); follow-up
                   re: supplemental brief (.1); attention to reply
                   briefs (.8); TC D. Lowenthal re: settlement,
                   attention to e-mails re: same (.4); follow-up re:
                   settlement, confer D. Lowenthal and C. Dent
                   re: same (.4).
7/22/14    CWD Reviewing and revising supplemental brief re              1.60       $912.00
                 PPI issues, e-mails w/colleagues re same (.5);
                reviewing revised joint bondholder-trustee brief
                re same and revising same, e-mails re same
                 w/colleagues (.7); reviewing docket (.3);
                 follow-up re 7/25 hearing (.1).
7/22/1 4   DAL Work on revising and finalizing Law                       8.00     $7,160.00
                Debenture's Interest Issues brief and brief filed
                with ad hoc bondholders and BNYM, along
                with multiple tcs and emails with J. Heaney,
                Milbank, S. Miller, E. Lamek, Akin, and
                NNCC holders' re briefs and possible
                settlement, and initial review of reply briefs.
7/23/14    BPG Confer D. Lowenthal and C. Dent re:                       1.80     $1,242.00
                 settlement, follow-up re: same (.4); continue
                 reviewing reply briefs and preparing for
                 hearing (.6); TC D. Lowenthal re: hearing (.4);
                 follow-up re: same (.1); follow-up research per
                 D. Lowenthal (.3).
7/23/14    CWD E-mails re settlement discussions, OC D.                  1.00       $570.00
                 Lowenthal and B. Guiney re same (.8); follow-
                 up re documents for 7/25 hearing (.2).
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7/23/14   DAL Multiple TCs and e-mails M. Riela, J. Heaney,            7.60      $6,802.00
               S. Miller, Milbank, NNCC holders' counsel,
               and Akin re PPI issues, oral argument and
               settlement, along with review of updated
               settlement agreement, case law and preparation
               for July 25 hearing (7.6).
7/24/14   BPG   Confer D. Lowenthal re: hearing, settlement            3.00      $2,070.00
                (.5); participate on weekly Committee call and
                follow-up (1.0); monitor court conference and
                follow-up D. Lowenthal and C. Dent re: same
                (1.0); review 9019 motion, follow-up re: same
                (.5).
7/24/14   CWD Preparing for Committee call, participating in           1.90      $1,083.00
                same, OC D. Lowenthal and B. Guiney re same
                (1.0); follow-up re Court conference (.2);
                monitoring hearing (for part), OC D.
                Lowenthal and B. Guiney re same (.7).
7/24/14   DAL Work on PPI settlement, multiple TCs and e-              8.50      $7,607.50
               mails with J. Heaney, M. Riela, Akin, and
               holders' counsel (3.0); prepare for oral
               argument at July 25 hearing (3.1); participate in
               Court hearing by CourtCall and related follow-
               up (2.0); work on billing (.4).
7/25/14   BPG     Review 7/24 transcript, follow-up re: same (.2);     1.30        $897.00
                  monitor hearing (for part) follow-up re: same
                  (1.0); follow-up D. Lowenthal re: same (.1).
7/25/14   CWD E-mails re hearing, OC D. Lowenthal re same              0.30        $171.00
                (.3).
7/25/14   DAL Review hearing transcript from July 24 hearing           7.50      $6,712.50
                and send to J. Heaney, Delaware and Canadian
                counsel; holders' counsel (1.2); monitor
                Canadian hearing on PPI issues (5.0);e-mails
                with J. Heaney, Canadian counsel and holders'
                counsel re same (1.3).
7/28/14   BPG     Confer D. Lowenthal re: open issues, follow-up       1.50      $1,035.00
                  re: same (.8); prepare notice to holders re: 9019
                  and follow-up D. Lowenthal re: same (.7).
7/28/14   CWD Reviewing docket, e-mails re post-trial brief            0.20        $114.00
               (.1); reviewing draft of notice to holders (.1).
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7/28/14   DAL   Work on post-hearing issues re allocation and        2.60      $2,327.00
                FPI settlement, including TC with R. Johnson
                re post-trial proposed findings of fact and
                conclusions of law (1.3); review and revise
                notice of holders (1.3).
7/29/14   BPG   Follow-up re: notice to holders (.2); follow-up      0.40        $276.00
                D. Lowenthal re: closing brief (.2).
7/29/14   CWD   Reviewing revised notice to holders, reviewing       0.10         $57.00
                docket (0.1).
7/29/14   DAL   Draft notice to holders and send to F. Godino        0.90        $805.50
                (.9).
7/30/14   BPG   Follow-up re: post-trial brief (.1); confer D.       0.60        $414.00
                Lowenthal and C. Dent re: 9019 motion and
                UCC response (.2); attention to discovery re:
                9019 and follow-up re: same (.3).
7/30/14   CWD   E-mails re POC motion w/D. Lowenthal, B.             0.30        $171.00
                Guiney and Law Debenture (.2); reviewing
                docket (.1).
7/30/14   CWD   E-mails re Committee call and post-hearings          0.60        $342.00
                allocation brief, OC D. Lowenthal and B.
                Guiney re same (.2); reviewing docket, e-mails
                re 9019 discovery w/D. Lowenthal and B.
                Guiney (.4).
7/30/14   DAL   E-mails with Committee counsel and tc J.             1.30      $1,163.50
                Rosenthal re post-trial proposed findings of fact
                and conclusions of law (.7); review deposition
                notices and TC M. Riela res same.(.6).
7/31/14   BPG   Review motion to adjourn / preliminary 9019          0.60        $414.00
                objection, follow-up re: same (.5); follow-up
                re: deadlines (.1)
7/31/14   CWD   Reviewing Monitor's preliminary objection to         0.30        $171.00
                9019 (.2); e-mails re US findings of fact (.1).
7/31/14   DAL   Review Monitor's motion to adjourn settlement        2.50      $2,237.50
                hearing and expedited discovery, send same to
                J. Heaney, F. Godino, and holders' counsel
                (2.2); review post-trial brief (.3).
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                                     Total Services       200.60      $157,635.00


 Daniel A Lowenthal       109.10 hours at  $895.00 $97,644.50
 Jean-Claude Lanza          4.70 hours at  $695.00 $3,266.50
 Brian P. Guiney           60.40 hours at $690.00 $41,676.00
 Craig W. Dent             26.40 hours at  $570.00 $15,048.00


       Filing Fees/Index Fees                                107.00
       Lexis Electronic Research                             129.17
       Local Travel & Fares                                   15.36
       Misc.                                                  51.00
       Tvl. Transportation/Lodging                           951.00

                                     Total Expenses                     $1,253.53


                                     Total This Invoice               $158,888.53
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                   Patterson Belknap Webb & Tyler LLP
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                        Invoice No. 806001
400 Madison Avenue                                                             September 10, 2014
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                             August 31, 2014 In Connection With The Following:


8/1/14       BPG       Review Debtors' draft of conclusions of                  1.50        $1,035.00
                       law/findings of fact, follow-up D. Lowenthal
                       and C. Dent re: same (1.5).
8/2/14       CWD Reviewing post-trial brief (.2).                               0.20          $114.00
8/3/14       BPG       Begin reviewing conclusions of law for                   1.10          $759.00
                       allocation trial submission (1.1).
8/3/14       DAL       Review draft post-trial submissions (1.4).               1.40        $1,253.00
8/4/14       BPG       E-mails with D. Lowenthal re: open issues (.2);          3.10        $2,139.00
                       TC D. Lowenthal re: 9019, closing brief (.2);
                       review post-trial brief (.8); work on joinder to
                       closing brief (1.7); confer D. Lowenthal re:
                       same (.2).
8/4/14       CWD Reviewing Debtors' draft post-trial brief and                  0.70          $399.00
                  proposed conclusions of law/fact, e-mails re
                  same (.5); reviewing docket (.2).
8/4/14       DAL       Review draft post-trial submissions (1.9); work          3.90        $3,490.50
                       on joinder (.3); work on post-hearing brief
                       (1.2); e-mails with Cleary, Akin, and Milbank
                       (.5).
8/5/14       BPG       Review Debtors' response to motion to adjourn            2.00        $1,380.00
                       9019, follow-up re: joinder, review C. Dent
                       comments to same (.5); review Milbank brief
                       (1.0); confer D. Lowenthal re: open issues and
                       follow-up (.3); follow-up re: 9019 (.2).
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8/5/14   CWD Reviewing docket (.1); reviewing revised US                 2.70      $1,539.00
              Interests' post-trial brief and Ad Hoc Group's
              draft brief (.4); reviewing and revising joinder
              to US Interests' post-trial brief, e-mails re same
              w/D. Lowenthal and B. Guiney (1.9); e-mails
              re holder issues, TC D. Lowenthal re same (.3).
8/5/14   DAL Review Debtors' response to Monitor's-                      3.40      $3,043.00
               Canadian Debtors' objection to 9019 motion
               and for discovery and send to holders' counsel
               (.7); work on updated post-trial brief (.7); e-
               mails with Cleary re same (.3); TC holders'
               counsel (.2); review other parties' draft briefs
               (1.5).
8/6/14   BPG     Review draft statement re: 9019 (.5); OC D.             3.20      $2,208.00
                 Lowenthal and C. Dent re: same (.9); revise
                 joinder in post-trial brief (.8); attention to Order
                 shortening notice and scheduling conference
                 call and follow-up re: same (.2); prepare issues
                 list related to 9019 pleading (.3); follow-up re:
                 revised joinder (.3); attention to sealing issues
                 and follow-up (.2).
8/6/14   CWD Reviewing draft response to 9019, meeting                   3.10      $1,767.00
              w/D. Lowenthal and B. Guiney re same and
              joinder to US Interests' post-trial brief and
              follow-up re same (1.6); revising joinder, e-
              mails re same w/same, reviewing revised draft
              re same (1.3); reviewing docket (.1); e-mails
              w/S. Miller, E. Lamek, Akin and Cleary re
              joinder and confidentiality issues (.1).
8/6/14   DAL Review holder's draft statement in response to              5.70      $5,101.50
               9019 and work on post-trial brief, along with
               multiple e-mails with Law Debenture, Cleary,
               Akin, Milbank, S. Miller and E. Lamek (4.1);
               review holder's draft brief to provide
               comments (1.0); TC F. Hodara and B. Kahn re
               9019 settlement and e-mail Law Debenture re
               same (.6).
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                                                                    September 10, 2014
                                                                    L0353-000007


8/7/14    BPG     Follow-up re: sealing, attention to e-mails re:    3.30      $2,277.00
                  9019, follow-up re: revisions to joinder (.4);
                  prepare for and participate on weekly
                  Committee call, follow-up re: same (1.0); work
                  on revised joinder, follow-up re: same, TC D.
                  Lowenthal re: comments from E. Lamek (.5);
                  additional follow-up re: joinder, confer D.
                  Lowenthal and C. Dent re: same (.4); review
                  Monitor's sur-reply re 9019 and follow-up (.3);
                  review noteholder pleading and follow-up re:
                  same (.4); OC C. Dent re: Support Agreement,
                  TC D. Lowenthal re: same and re: open issues
                  (.3).
8/7/14    CWD Follow-up re joinder filing and confidentiality        4.00      $2,280.00
                agreement, OC D. Lowenthal re same,
                coordinate filing same w/Delaware and
                Canadian counsel (.8); reviewing docket (.5); e-
                mails re noteholder response to 9019,
                reviewing same, follow-up re same, OC B.
                Guiney re same (.8); Committee call (for part),
                OC D. Lowenthal and B. Guiney re noteholder
                call and joinder filing (.7); reviewing and
                revising modified joinder (.7); reviewing and
                revising monthly fee statement, note to
                accounting department re same (.3); reviewing
                draft Committee statement re 9019 (.2).
8/7/14    DAL Work on post-hearing brief and proposed               6.20       $5,549.00
               revisions to holder's brief, including numerous
               e-mails with Law Debenture, S. Miller, E.
               Lamek, holders' counsel, and Akin (5.7).
               Review Committee's draft statement and give
               comments to Akin (.5).
8/8/14    CWD E-mails re hearing (.1); reviewing docket (.1).       0.20         $114.00
8/8/14    DAL Participate in Court hearing and send memo to         2.20       $1,969.00
                Law Debenture (2.2).
8/9/14    BPG Review Committee statement re: 9019                   0.30         $207.00
                settlement, attention to summary of telephonic
                conference (.3).
8/11/14   CWD Reviewing revised monthly billing detail,             0.20         $114.00
               follow-up re same (.1); reviewing docket (.1).
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8/12/14   CWD   Finalizing monthly statement, e-mails re same       0.50        $285.00
                w/D. Lowenthal (.4); reviewing docket (.1).
8/14/14   BPG   Attention to e-mail re: weekly Committee call,      0.30        $207.00
                attention to revised USD pleading (.3).
8/14/14   CWD   Reviewing docket (.1); Committee call, e-mails      0.70        $399.00
                re same w/D. Lowenthal and B. Guiney (.6).
8/15/14   CWD   Reviewing docket and Agenda for 8/19                0.30        $171.00
                hearing, e-mails re same w/D. Lowenthal (.3).
8/18/14   BPG   Confer C. Dent re: briefing schedule (.1);          0.20        $138.00
                follow-up D. Lowenthal re: status (.1).
8/18/14   CWD   Reviewing docket and e-mails re corrected           0.20        $114.00
                post-trial briefs and upcoming trial dates (.2).
8/18/14   DAL   Review hearing Agenda and docket check (.4);       2.80       $2,506.00
                review post-trial briefs (2.4).
8/19/14   BPG   Review J. Newbould opinion, confer C. Dent          0.80        $552.00
                re: same (.8).
8/19/14   CWD   Reviewing docket (.2); reviewing J. Newbould        0.60        $342.00
                decision re PPI, TC D. Lowenthal re same (.4).
8/19/14   DAL   Court hearing (.7); review post-trial briefs        4.60      $4,117.00
                (2.8); review J. Newbould decision on PPI and
                send to J. Heaney, S. Miller, and holders'
                counsel (.9); TC S. Miller re same (.2).
8/20/14   CWD   E-mails re claims trial filings, reviewing          0.10         $57.00
                docket, reviewing agenda for Committee call
                (.1).
8/20/14   DAL   Work on billing (.4).                               0.40        $358.00
8/21/14   BPG   Review agenda, prepare for and participate on       1.10        $759.00
                Committee call, follow-up D. Lowenthal and C.
                Dent re: same (1.1).
8/21/14   CWD   Committee call, OC D. Lowenthal and B.              1.20        $684.00
                Guiney re same (1.1); reviewing docket (.1).
8/21/14   DAL   Review J. Newbould decision and 9019 issues         1.90      $1,700.50
                (1.3); TC E. Lamek re J. Newbould's decision
                (.6).
8/22/14   CWD   Reviewing docket (.2).                              0.20        $114.00
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                                                                         September 10, 2014
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8/22/14    DAL Complete and send fee statement to Law                     0.10         $89.50
                 Debenture (.1).
8/25/14    CWD Reviewing docket, e-mails re unsealed post-                0.20        $114.00
                trial briefs (.2).
8/25/14    DAL TC S. Miller and e-mail from I. Rosenberg re               3.90      $3,490.50
                 filing unsealed brief (.2); closing issues (3.7).
8/26/14    BPG      Attention to unsealed briefs, follow-up re:           0.30        $207.00
                    record evidence (.3).
8/26/14    CWD E-mails re allocation trial record (.1); reviewing         0.20        $114.00
                 docket (.1).
8/26/14    DAL      Work on analysis for reply/closing argument,          4.70      $4,206.50
                    including detailed review of post-trial briefs
                    and documents (4.7).
8/27/14    CWD Reviewing docket (.1).                                     0.10         $57.00
8/28/14    BPG      Attention to e-mails re: appeal issues (.2);          1.50      $1,035.00
                    confer D. Lowenthal (for part) and C. Dent re:
                    appeal issues and re: trial record (.5); follow-up
                    1. Rosenberg re: same, TC same re: same (.4);
                    follow-up D. Lowenthal and C. Dent re: same
                    (.2); attention to e-mails with E. Lamek re:
                    appeal and other issues (.2).
8/28/14    CWD E-mails w/D. Lowenthal and B. Guiney re                    1.20        $684.00
                 appeal of Canadian PPI decision, TC D.
                 Lowenthal and B. Guiney re same and
                 allocation trial record, e-mails w/E. Lamek re
                 same, TC B. Guiney re same (.9); reviewing
                 docket (.1); reviewing draft Canadian Order re
                 PPI issues, e-mails re same w/D. Lowenthal
                 and B. Guiney (.2).
8/28/14    DAL      Attention to appeal issues in Canada (2.5);           3.30      $2,953.50
                    review draft Order re PPI decision in Canada
                    and give comments to E. Lamek (.8).
8/29/1 4   BPG      Attention to noteholder response to 9019,             0.50        $345.00
                    follow-up re: same (.4); attention to e-mails re:
                    appeal in Canada (.1).
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8/29/14   CWD Reviewing docket, e-mails re same w/D.                    1.40        $798.00
               Lowenthal and J. Heaney (.5); e-mails re
               omnibus hearings, follow-up re same (.3); e-
               mails re Canadian PPI Order and Indenture,
               follow-up re same, TC D. Lowenthal re same
               (.4); e-mails re Canadian fee issues (.1).
8/29/14   DAL Further work on Order re Canadian post-                   1.40       $1,253.00
                petition interest decision (.6); e-mail same to J.
                Heaney (.2); review statement filed by NNCC
                holders (.5); e-mails with E. Lamek re cost
                issue in Canada (.1).

                                                 Total Services        83.10      $64,588.50


           Daniel A Lowenthal           45.90 hours at      $895.00 $41,080.50
           Brian P. Guiney              19.20 hours at      $690.00 $13,248.00
           Craig W. Dent                18.00 hours at      $570.00 $10,260.00


                   Filing Fees/Index Fees                                313.00
                   Local Travel & Fares                                  955.09

                                                  Total Expenses                   $1,268.09


                                                  Total This Invoice              $65,$56,59
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                       Patterson Belknap Webb & Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 808321
400 Madison Avenue                                                                October 23, 2014
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                              September 30, 2014 In Connection With The Following:


9/2/14          BPG       Confer C. Dent re: open issues, follow-up re:            1.00          $690.00
                          Solus submission, confer C. Dent and D.
                          Lowenthal re: same and follow-up re: same
                          (1.0).
9/2/14          CWD       Reviewing docket, e-mails re bearing calendar            1.00          $570.00
                          (.1); e-mails re Canadian PPI fee issues, TC D.
                          Lowenthal and B. Guiney re same (.9).
9/2/14          DAL       Work on Canadian appeal issues with                      1.00          $895.00
                          colleagues, TC with M. Riela, and e-mails with
                          E. Lamek (1.0).
9/3/14          BPG       Attention to e-mails regarding appeal in                 0.30          $207.00
                          Canada, attention to e-mails regarding reply to
                          allocation briefs, follow-up re: same (.3).
9/3/14          CWD       E-mails re Canadian PPI appeal issues, TC D.             0.40          $228.00
                          Lowenthal re same (.4).
9/3/14          DAL       Attention to appeal issues, including e-mails            3.00        $2,685.00
                          with Canadian counsel and review memo
                          provided by same, e-mails with Debtors'
                          counsel and bondholders' counsel re post-trial
                          briefing (3.0).
9/4/14          BPG       Prepare for and participate on weekly                    0.80          $552.00
                          Committee call (.4); follow-up D. Lowenthal
                          re: same, re: appeal (.3); attention to e-mails re:
                          appeal (.1).
9/4/14          CWD       E-mails re Canadian PPI appeal (.1).                     0.10            $57.00
9/4/14          DAL       Work on appeal matters (3.7).                            3.70        $3,311.50




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9/5/14       BPG   Attention to e-mails re: appeal and follow-up          2.40        $1,656.00
                   (.3); review Cleary draft reply (2.1).
9/5/14       CWD   E-mails re Canadian appeal issues (.2);                0.60         $342.00
                   reviewing docket (.1); revising monthly fee
                   statement, note to accounting department re
                   same (.3).
9/5/14       DAL   Work on Canadian appeal issues (2.2).                  2.20        $1,969.00
9/7/14       CWD   Reviewing docket, reviewing revised form of            0.10          $57.00
                   Canadian PPI Order (.1).
9/7/14       DAL   Work Canadian appeal issues, including emails          0.50         $447.50
                   with E. Lamek and BNYM's counsel (.5).
9/8/14       BPG   E-mails related to appeal (.2); e-mails re:            1.60        $1,104.00
                   joinder, confer C. Dent re: same, draft same
                   and circulate (.6); attention to-e-mails re:
                   appeal and follow-up (.2); review letter to
                   Court and follow-up (.2); attention to additional
                   e-mails re: same and follow-up (.2); confer D.
                   Lowenthal re: same and follow-up (.2).
9/8/14       CWD   E-mails re Canadian appeal issues and joinder,         0.70         $399.00
                   OC B. Guiney re same (.5); reviewing docket
                   (.2).
9/8/14       DAL   Work on Canadian appeal issues (5.3); work on          7.80        $6,981.00
                   reply brief (2.5).
9/9/14       BPG   Attention to e-mails regarding appeal, confer C.       2.30        $1,587.00
                   Dent re: same, respond to D. Lowenthal re:
                   same (.3); review Milbank brief (.8); revise
                   joinder per D. Lowenthal (.7); review revised
                   Cleary brief (.2); attention to e-mails re: appeal,
                   clarification of record (.3).
9/9/14       CWD   E-mails re Canadian appeal issues, reviewing           0.60         $342.00
                   leave to appeal re same (.3); reviewing docket
                   (.1); finalizing monthly fee statement, e-mails
                   re same w/D. Lowenthal (.2).
9/9/14       DAL   Review work on post-trial brief (1.0); work on         2.00        $1,790.00
                   Canadian appeal issues, including e-mails with
                   E. Lamek and J. Heaney (1.0).




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9/10/14      BPG      Follow-up D. Lowenthal re: joinder (.1); OC          3.00      $2,070.00
                      same re: same and follow-up (.2); follow-up C.
                      Dent re: same (.1); review revised joinder and
                      follow-up (.3); finalize same and attention to
                      filing (.4); confer C. Dent re: quarterly updates
                      (.1); begin reviewing reply briefs (1.8).
9/10/14      CWD E-mails re joinder issues, reviewing and                  0.60        $342.00
                   revising same, TC D. Lowenthal re same (.3);
                   reviewing docket and filed briefs (.3).
9/10/14      DAL Review and revise draft reply brief, including            5.80      $5,191.00
                   multiple e-mails with colleagues and
                   coordination of filing in both US and Canada
                   (5.5); review bondholders' appeal motion in
                   Canada (.3).
9/1 1/14     BPG Prepare for and participate on weekly                     1.50      $1,035.00
                    Committee call, follow-up re: same (.7);
                    attention to e-mails re: appeal (.2); continue
                    reviewing reply briefs (.6).
9/11/14      CWD Reviewing docket (.2); Committee call, OC D.              1.20        $684.00
                   Lowenthal and B. Guiney re 9019 depositions
                  and Canadian appeal issues (.8); e-mails re
                  Canadian appeal issues, OC D. Lowenthal re
                  same (.2).
9/11/14      DAL      Review post-trial reply briefs (1.8).                1.80      $1,611.00
9/12/14      BPG     Monitor and follow-up re: e-mails related to          0.20        $138.00
                     service of brief (.2).
9/12/14      CWD Reviewing docket, OC D. Lowenthal re                      0.20        $114.00
                  Canadian appeal issues, e-mails re same
                  w/Canadian counsel (.2).
9/12/14      DAL TC J. Tecce re upcoming depositions (.1);                 0.60        $537.00
                   coordinate sending briefs for delivery to J.
                   Newbould (.2); email J. Heaney re deposition
                   update (.1); work on fee statement (.2).
9/15/14      BPG     Review minutes and follow-up (.2); attention to       1.00        $690.00
                     reply briefs, follow-up D. Lowenthal re: same
                     (.2); attention to quarterly updates (.3);
                     attention to e-mails and drafts re: post-filing
                     interest order in Canada (.3).




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9/15/14      DAL Review revised Order in Canada on PPI and e-            2.70        $2,416.50
                   mails with E. Lamek and BNYM's counsel re
                   same (.7); review post-trial briefs (2.0).
9/17/14      BPG     Work on quarterly update (.9).                      0.90         $621.00
9/18/14      BPG     Prepare for and participate on Committee call,      2.50        $1,725.00
                     follow-up re: same (1.4); attention to e-mails
                     re: allocation closing, other open issues (.3);
                     finalize quarterly update (.8).
9/18/14      DAL Emails re closing arguments (.1); emails re             0.60         $537.00
                   Court conf. (.1); update from B. Guiney re tax
                   issue (.4).
9/19/14      BPG     Attention to e-mails re: briefs, closing            0.60         $414.00
                     arguments (.2); finalize quarterly update and
                     send to D. Lowenthal (.3); attention to unsealed
                     version of Law Deb brief (.1).
9/21/14      DAL Prepare for closings, including review post-trial       8.00        $7,160.00
                   briefs and travel to Delaware (7.5); revise client
                   update (.5).
9/22/14      BPG     Monitor closing arguments (for part) (.6);          1.10         $759.00
                     update C. Dent re: open issues (.2); follow-up
                     re: hearing (.1); consider November 3
                     settlement conference and follow-up re: same
                     (.2).
9/22/14      CWD Reviewing docket (.1); e-mails re allocation            0.40         $228.00
                  trial and case update, OC B. Guiney re same
                  (.3).
9/22/14      DAL Attend closing argument in Delaware (8.5);              9.60        $8,592.00
                   revise client update (.1); work on closing
                   argument (1.0).
9/23/14      BPG     Final review of case update (.2); e-mails with      2.50        $1,725.00
                     D. Lowenthal re: hearing, consider same (.2);
                     monitor closing arguments (for part) (1.9);
                     follow-up C. Dent re: same (.1); attention to e-
                     mails (.1).
9/23/14      CWD Reviewing docket, e-mails re hearing dates              0.10           $57.00
                  w/managing clerk's office (.1).




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9/23/14      DAL     Prepare for closing (.9); participate in closing       9.90        $8,860.50
                     argument (9.0).
9/24/14      BPG    Follow-up re: hearing, confer C. Dent re: open          0.70          $483.00
                    issues (.2); review Monitor's motion and update
                    F(.2); confer D. Lowenthal re: hearing, next
                    steps (.3).
9/24/14      CWD Reviewing docket (.1).                                     0.10           $57.00
9/24/14      DAL     Participate in closing argument (8.0).                 8.00        $7,160.00
9/25/14      CWD Reviewing docket (.1).                                     0.10           $57.00
9/26/14      BPG    Review minutes of previous meetings and                 1.70        $1,173.00
                    follow-up re: same (.4); prepare for and
                    participate on weekly call, follow-up re: same
                    (.9); TC D. Lowenthal re: same (.2); follow-up
                    re: CCAA stay motion, additional follow-up re:
                    same (.2).
9/26/14      CWD OC D. Lowenthal re court conference (.1);                  0.20         $114.00
                  reviewing docket (.1).
9/26/14      DAL    Committee call (.8); e-mails re stay extension          2.00        $1,790.00
                    in Canada and follow-up (1.2)
9/29/14      BPG    Confer C. Dent re: DOF, allocation decision             0.20         $138.00
                    (.2).
9/30/14      BPG    Confer D. Lowenthal re: CCAA stay, review e-            0.20         $138.00
                    mail re: same (.2).
9/30/14      DAL    Conf. call re Canadian Order (1.0).                     1.00         $895.00

                                                     Total Services       101.10       $83,382.00

              Daniel A Lowenthal           70.20 hours at       $895.00 $62,829.00
              Brian P. Guiney              24.50 hours at       $690.00 $16,905.00
              Craig W. Dent                 6.40 hours at       $570.00 $3,648.00

                    Outside Professional Services                             141.50
                    Tvl. Transportation/Lodging                             1,173.65

                                                     Total Expenses                     $1,315.15

                                                     Total This Invoice                $84497,15




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                    Patterson Belknap Webb & Tyler LLP
          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                         Invoice No. 810224
400 Madison Avenue                                                              November 14, 2014
New York, NY 10017                                                              FEI No. XX-XXXXXXX

Re: NORTEL                                                                      L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                             October 31, 2014 In Connection With The Following:


10/1/14       DAL       E-mail E. Lamek re hearing in Canada (.1).               0.10            $89.50
10/2/14       BPG       Prepare for and participate on weekly                    0.50          $345.00
                        Committee call, follow-up re: same (.5)
10/2/14       DAL       Committee call (.5).                                     0.50          $447.50
10/6/14       BPG       Review monitor's PPI objection, WTI                      2.10        $1,449.00
                        objection and expert report (1.2); follow-up re:
                        same, review prior Court orders re: same (.4);
                        TC D. Lowenthal re: same and follow-up (.3);
                        confer C. Dent re: same (.2).
10/6/14      .CWD       E-mails re Monitor's response to 9019,                   0.80          $456.00
                        reviewing same, TC B. Guiney re same,
                        follow-up re same (.8).
10/6/14       DAL       Review email from Committee counsel re                   1.50        $1,342.50
                        comments in Monitor's papers concerning Law
                        Debenture and email J. Heaney re same (1.5).
10/7/14       BPG       Confer D. Lowenthal re: open issues, follow-up           0.40          $276.00
                        S. Miller re: same (.4).
10/7/14       DAL       Attention to Monitor's pleading with B. Guiney           0.20          $179.00
                        (.2).
10/8/14       BPG       Calendar response date for PPI pleading (.1).            0.10            $69.00
10/8/14       CWD       Follow-up re post-trial briefs w/E. Lamek (.3);          0.90          $513.00
                        reviewing docket (.2); revising fee statement,
                        note to accounting department re same (.4).
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10/9/14    BPG      Review Capstone presentation, prepare for and        1.00        $690.00
                    participate on weekly Committee call, follow-
                    up re: same (1.0).
10/9/14    CWD      E-mails re motion for leave to appeal (.1); e-       0.50        $285.00
                    mails re hyperlinked post-trial briefs w/E.
                    Lamek and Goodmans (.1); reviewing post-trial
                    stipulation, e-mails re same w/D. Lowenthal
                    and B. Guiney (.3).
10/9/14    DAL Review appeal factum in Canada and Canadian               0.40        $358.00
                 counsels' comments (.4).
10/10/14   CWD E-mails re post-trial briefs w/Goodmans (.1); e-          0.30        $171.00
                 mails re trial record stipulation (.1); finalize fee
                 statement, e-mails re same w/D. Lowenthal
                 (.1).
10/15/14   BPG      Review e-mail related to discovery dispute,          0.30        $207.00
                    follow-up re: same (.2); review bond price
                    chart, agenda for Committee call (.1).
10/15/14   CWD Reviewing docket (.1); e-mails re bondholder              0.20        $114.00
                settlement 9019 litigation (.1).
10/16/14   BPG      Review Debtor's motion to compel (.4);               1.60      $1,104.00
                    prepare for and participate on call, follow-up
                    re: same (.7); confer C. Dent re: Committee
                    meeting, claim issues, follow-up re: same (.5).
10/16/14   CWD Reviewing docket (.4); OC B. Guiney re                    0.80        $456.00
                Committee call and claims issues (.4).
10/17/14   BPG      Confer D. Lowenthal re: open issues (.2);            0.30        $207.00
                    confer A. Qureshi re: telephonic conference
                    (.1).
10/20/14   BPG      Review Monitor objection to Motion to                0.50        $345.00
                    Compel (.5).
10/20/14   CWD Reviewing docket (.1).                                    0.10         $57.00
10/21/14   BPG      Monitor hearing in Nortel PPI discovery              1.00        $690.00
                    dispute (.7); follow-up e-mails re: Wertheim
                    deposition, confer C. Dent re: same (.2);
                    attention to other e-mails re: same (.1).
10/21/14   CWD Reviewing docket (.1); monitoring hearing (.7).           0.80        $456.00
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10/21/14    DAL   Review Monitor's pleading re deposition (1.5);      2.90      $2,595.50
                  attend Court conf. re discovery and related
                  follow-up (1.4).
10/22/14    BPG   Confer D. Lowenthal re: strategy, follow-up re:     1.50      $1,035.00
                  same and consider same (.5); review Canadian
                  Monitor PPI statement, Solus/Macquairie
                  statement, follow-up re: same, confer D.
                  Lowenthal and C. Dent re: same (1.0).
10/22/14    CWD   Reviewing docket, emails re 9019 response           0.10         $57.00
                  (.1).
10/22/14    DAL   TC Tecce re next steps re NNCC (.5); e-mail to      0.90        $805.50
                  colleagues re same (.2); go-forward issues (.2).
10/23/14    BPG   Prepare for and participate on weekly               2.00      $1,380.00
                  Committee call, follow-up re: same (.4); confer
                  D. Lowenthal and C. Dent re: strategy and next
                  steps, follow-up re: 502(c) (1.1); research re:
                  same (.5).
10/23/14    CWD   Committee call, OC D. Lowenthal and B.              1.30        $741.00
                  Guiney re 9019 response deadline (1.3).
10/23/14    DAL   Update on Court hearing re motion to compel,        2.00      $1,790.00
                  including analysis of settlement issues and
                  possible holder motion to estimate with B.
                  Guiney and C. Dent (1.8); work on fee
                  statement (.2).
10/24/14    BPG   Follow-up re: NNCC pleading (.1).                   0.10         $69.00
10/24/14    CWD   Reviewing docket (.1).                              0.10         $57.00
10/24/14    DAL   Work on fee statement (.2); attention to            0.40        $358.00
                  pleadings due on October 30 (.2).
10/27/14    BPG   Review draft motion to estimate, follow-up re:      1.10        $759.00
                  same, multiple TCs and e-mails re: same (1.0);
                  review e-mail from M. Fagen re: same (.1).
10/27/14    CWD   Emails re Solus filing, OC B. Guiney re same        0.30        $171.00
                  (.2); reviewing docket (.1).
10/27/14    DAL   Review draft of Holders' motion, TC with J.         1.00        $895.00
                  Tecce re same, and email to J. Heaney (1.0).
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10/28/14   BPG     Review filed version of NNCC pleading,              0.90       $621.00
                   follow-up re: same (.2); confer D. Lowenthal
                   re: same and re: PPI hearing/responses (.3); OC
                   D. Lowenthal re: NNCC/strategy (.4).
10/28/14   CWD Reviewing docket (.3); reviewing draft factum           0.70       $399.00
                (.4).
10/28/14   DAL Emails with holders' counsel re Court                   0.80       $716.00
                transcript (.1); review outstanding issues with
                B. Guiney (.7).
10/29/14   BPG     Confer D. Lowenthal re: draft factum, review        0.70       $483.00
                   same (.5); follow-up C. Dent re: same (.1);
                   additional follow-up re: same (.1).
10/29/14   CWD Revising draft factum, e-mails re same w/D.             2.20      $1,254.00
                Lowenthal and B. Guiney, participating in call
                re same w/BNYM and Canadian counsel (2.2).
10/29/14   DAL Review draft factum, including TC with E.               4.20      $3,759.00
                 Lamek, J. Marshall, and BNY's counsel (2.7);
                 tc J. Tecce re case issues (.3); e-mail J. Heaney
                 re update and recommendations re settlement
                 conf and hearing (1.2).
10/30/14   BPG     Review materials for Committee call, including      3.80      $2,622.00
                   draft 9019 statement. follow-up re: same, e-
                   mails re: same (.8); participate on weekly
                   Committee call and follow-up re: same (1.0);
                   review Wertheim deposition transcript, confer
                   D. Lowenthal and C. Dent re: same (1.0);
                   review Debtor and bondholder responses on
                   9019 motion (1.0).
10/30/14   CWD Reviewing draft Committee 9019 statement, e-            2.60      $1,482.00
                mails re same, follow-up re November 4
                hearing (.3); Committee call, OC D. Lowenthal
                and B. Guiney re same and November 3
                meeting (1.1); reviewing Weirtheim deposition
                transcript, e-mails re same w/colleagues, TC
                same re same (1.2).
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10/30/14    DAL E-mail J. Heaney re NNCC motion and                     5.40       $4,833.00
                  Committee (.2); comments on draft Committee
                  statement (.8); tc with D. Botter (.2); email J.
                  Heaney (.2); review Wertheim deposition (1.5);
                  review holders' motion and related follow-up
                  (2.5).
10/31/14    BPG     Attention to Tuesday hearing, review revised        0.60         $414.00
                    factum and follow-up re: D. Lowenthal
                    comments to same (.6).
10/31/14    CWD Reviewing revised Canadian factum re PPI                0.90         $513.00
                 appeal (.1); reviewing docket and Agenda for
                 11/4 hearing, TC B. Guiney re same, follow-up
                 re same (.3); OC D. Lowenthal re Solus motion
                 and related issues (.5).
10/31/14    DAL E-mails with J. Heaney and E. Lamek re                  2.20        $1,969.00
                  Canadian factum (.2); review updated draft
                  factum (.9); review hearing Agenda (.1); conf.
                  C. Dent re case issues (.7); TC J. Tecce re
                  upcoming hearing (.2).

                                                  Total Services       53.60       $40,084.50


             Daniel A Lowenthal          22.50 hours at     $895.00 $20,137.50
             Brian P. Guiney             18.50 hours at     $690.00 $12,765.00
             Craig W. Dent               12.60 hours at     $570.00 $7,182.00


                    Lexis Electronic Research                              39.32

                                                  Total Expenses                      $39.32


                                                  Total This Invoice               $40.123.82
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                       Patterson Belknap Webb & Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

 Law Debenture Trust Company of New York                                          Invoice No. 812247
 400 Madison Avenue                                                               December 10, 2014
 New York, NY 10017                                                               FEI No. XX-XXXXXXX

 Re: NORTEL                                                                       L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                              November 30, 2014 In Connection With The Following:


11/2/14         DAL       Review replies re PPI settlement (1.7).                 1.70         $1,521.50
11/3/14         BPG      Attention to updates re: settlement negotiations         0.20           $138.00
                         (.1); attention to Monitor's filings related to
                         appeal (.1).
11/3/14         CWD      Reviewing docket, e-mails re settlement                  0.10            $57.00
                         conference (.1).
11/3/14         DAL      Attend settlement conference (7.8).                      7.80         $6,981.00
11/4/14         BPG      Monitor PPI hearing (for part) (3.5).                    3.50         $2,415.00
11/4/14         CWD      Reviewing docket, e-mails re hearing and                 0.20           $114.00
                         mediation (.2).
11/4/14         DAL      Email J. Heaney re settlement conference (.4);           9.90         $8,860.50
                         court hearing on PPI settlement motion (9.5).
11/5/14         BPG      Monitor PPI hearing, attention to follow-up e-           4.20         $2,898.00
                         mails re: same (3.0); confer D. Lowenthal re:
                         PPI hearing, estimation motion, other open
                         issues (1.0); additional follow-up re: same (.2).
11/5/14        CWD       Reviewing docket (.1); reviewing Monitor's               0.30           $171.00
                         responding factum (.2).
11/5/14        DAL       Attend Court hearing (7.8); status update with           8.80         $7,876.00
                         B. Guiney (1.0).
11/6/14        BPG       Prepare for and participate on weekly                    2.20         $1,518.00
                         Committee call, follow-up re: same (1.0); OC
                         D. Lowenthal and C. Dent re: estimation
                         motion and next steps (1.0); additional follow-
                         up re: same (.2).



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                                                                    December 10, 2014
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11/6/14      CWD   Meeting w/D. Lowenthal and B. Guiney re           1.00        $570.00
                   claim issues and litigation (1.0).
11/6/14      DAL   Review key issues re settlement conference and    1.60      $1,432.00
                   PPI hearing (.2); assist Law Debenture with
                   Committee issue (.2); team meeting, follow-up
                   re same (1.2).
11/7/14      CWD   Reviewing docket and hearing calendar, e-         0.50        $285.00
                   mails re same w/D. Lowenthal (.2); reviewing
                   and revising monthly fee statement, note to
                   accounting department re same (.3).
11/10/14     BPG   Confer D. Lowenthal re: estimation motion         1.30        $897.00
                   (.1); consider same, begin drafting response
                   (1.2).
11/11 /14    BPG   Review docket (.1); attention to notice of        0.40        $276.00
                   adjournment, calendar same (.2); follow-up D.
                   Lowenthal re: same (.1).
11/11/14     DAL   Review adjournment of hearing and calendar        0.10         $89.50
                   (.1).
11/12/14     BPG   Consider response to estimation motion and TC     0.80        $552.00
                   D. Lowenthal re: same (.2); review bondholder
                   group factum and follow-up (.6).
11/12/14     DAL   Review brief in Canada and e-mails with E.        2.00      $1,790.00
                   Lamek and BNYM's counsel re same (1.8);
                   review Committee agendas (.2).
11/13/14     BPG   Prepare for and participate on Committee          0.40        $276.00
                   weekly call, follow-up re: same (.4).
11/13/14     DAL   Committee call (.3).                              0.30       $268.50
11/14/14     DAL   Work on billing (.1).                             0.10         $89.50
11/17/14     CWD   Reviewing docket (.2).                            0.20       $114.00
11/18/14     BPG   Attention to case calendar, cancellation of       0.20       $138.00
                   hearing, open issues (.2).
11/18/14     CWD   Reviewing docket (.1).                            0.10         $57.00
11/19/14     CWD   Reviewing docket (.1).                            0.10         $57.00
11/20/14     CWD   Reviewing docket (.2).                            0.20       $114.00




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                                                                          December 10, 2014
                                                                          L0353-000007


11/21/14     BPG     Confer D. Lowenthal re: Monday meeting,               0.60         $414.00
                     open issues (.2); attention to e-mail update
                     from D. Lowenthal and follow-up (.2); TC D.
                     Lowenthal re: same (.2).
11/21/14     CWD Reviewing docket, e-mails re noteholder                   0.20         $114.00
                  motion (.2).
11/21/14     DAL Analyze case issues in preparation for                    0.90         $805.50
                   Committee meeting (.3); TC J. Tecce re motion
                   to estimate status and follow-up (.2); e-mail J.
                   Heaney re case issue (.4).
11/24/14     BPG     Confer C. Dent re: meeting materials (.2);            4.40       $3,036.00
                     review same (.8); attend Committee meeting,
                     follow-up re same (3.0); follow-up D.
                     Lowenthal re: same (.2); update C. Dent re:
                     meeting (.2).
11/24/14     CWD Reviewing Committee presentations, OC B.                  0.80         $456.00
                  Guiney re same (.7); reviewing docket (.1).
11/24/14     DAL Committee meeting at Akin (2.7); follow-up               2.90        $2,595.50
                   (.2).
11/25/14     BPG     Confer D. Lowenthal re: 12/2 hearing, other          0.10           $69.00
                     open issues (.1).
11/26/14     CWD Reviewing docket (.1).                                   0.10           $57.00
11/27/14     CWD E-mail from Committee re Canadian PPI                    0.10           $57.00
                   appeal (.1).
11/30/14     CWD Reviewing docket (.1).                                   0.10           $57.00
                                                     Total Services       58.40      $47,216.50

              Daniel A Lowenthal         36.10 hours at $895.00 $32,309.50
              Brian P. Guiney            18.30 hours at $690.00 $12,627.00
              Craig W. Dent               4.00 hours at $570.00 $2,280.00

                     Misc.                                                  302.00
                     Outside Professional Services                          130.00
                     Tvl. Transportation/Lodging                            872.70

                                                     Total Expenses                   $1,304.70

                                                     Total This Invoice              $48.521.20



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                       Patterson Belknap Webb & "Tyler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 814340
400 Madison Avenue                                                                January 20, 2015
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                              December 31, 2014 In. Connection With The Following:


12/1/14         BPG Follow-up D. Lowenthal and C. Dent re: open                    1.00           $690.00
                      issues (including Canadian appeal and
                      estimation motion) (.1); draft and circulate
                      statement related to estimation motion (.9).
12/1/14         CWD Reviewing docket (.1); reviewing draft                         0.30           $171.00
                     response re Solus motion (.1); reviewing
                     materials re claim reconciliation (.1).
12/2/14         BPG Follow-up re: NNCC Notes pleading (.1);                        1.00           $690.00
                      confer D. Lowenthal re: NNCC Notes
                      documents, review same and follow-up re:
                      same (.9).
12/2/14         CWD Revising response to Solus motion, e-mails re                  0.70           $399.00
                     same w/D. Lowenthal and B. Guiney (.7).
12/2/14         DAL E-mail chart from Debtors re NNCC notes to J.                  1;20         $1,074.00
                      Heaney (.5); review draft statement in response
                      to holders' motion (.7).
12/3/14         BPG       Confer C. Dent re: Nortel pleading (.1); follow-         1.30           $897.00
                          up D. Lowenthal re: same (.1); review draft
                          Committee pleading and follow-up re: same
                          (.5); TC D. Lowenthal re: same (.1); review
                          revised pleading, attention to e-mails regarding
                          adjournment, TC D. Lowenthal re: same (.4);
                          confer C. Dent re: same (.1).
12/3/14         CWD Reviewing docket (.2); OC B. Guiney re                         0.60           $342.00
                     NNCC estimation response deadline, e-mails re
                     same from Debtors, reviewing Debtors'
                     reconciliation re same (.4).



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12/3/14       DAL   Revise draft pleading re holders' motion and         2.20      $1,969.00
                    review e-mails from Debtors' and Committee
                    counsel (2.2).
12/4/14       BPG   Review materials for weekly Committee call           0.60        $414.00
                    (.2); participate on Committee weekly call and
                    follow-up re: same (.4)
12/4/14       CWD   Committee call (.4).                                 0.40        $228.00
12/4/14       DAL   Review Canadian Court's decision re leave for        0.70        $626.50
                    appeal concerning PPI ruling (.2); Committee
                    call and follow-up re same (.5).
12/5/14       BPG   Follow-up re: adjournment, attention to              0.20        $138.00
                    amended schedule (.2).
12/5/14       CWD   Reviewing docket (.1); reviewing and revising        0.30        $171.00
                    monthly fee statement, note to accounting
                    department re same (.2).
12/8/14       BPG   Confer D. Lowenthal and C. Dent re: amended          0.30        $207.00
                    schedules (.2); review notice re: same (.1).
12/8/14       CWD   Reviewing documents re amendment of NNI              0.70        $399.00
                    and NNCC schedules, OC B. Guiney re same
                    (.4); reviewing docket (.1); finalizing monthly
                    fee statement, e-mails w/D. Lowenthal re same
                    (.2).
12/9/14       BPG   Confer D. Lowenthal re: revised schedules and        0.50        $345.00
                    claims bar date, additional follow-up re: same
                    (.3); attention to J. Newbould claim decision
                    (.2).
12/9/14       CWD   Reviewing Canadian decision re NNUK claims           0.30        $171.00
                    (.3).
12/9/14       DAL   Review updated schedules (.5); work on fee           0.70        $626.50
                    statement (.2)
12/10/14      CWD   Reviewing docket (.1).                               0.10         $57.00
12/10/14      DAL   Update S. Miller on case issues (.3).                0.30        $268.50




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12/11/14     BPG   Study J. Newbould UKP claim decision,               2.80      $1,932.00
                   prepare for Committee weekly call (1.1);
                   participate on same and follow-up (1.1); update
                   D. Lowenthal and C. Dent re: same (.2);
                   attention to response from Debtors, follow-up
                   re: NNCC claim (.4).
12/11/14     CWD   Committee call (.9).                               0.90         $513.00
12/11/14     DAL   E-mail J. Heaney re Committee call (.1); update    0.50         $447.50
                   on Committee call from B. Guiney and C. Dent
                   (.2); work on fee statement (.2).
12/12/14     DAL   Review Court hearing agenda (.1).                  0.10          $89.50
12/15/14     BPG   Follow-up re: December hearing, attention to       0.20         $138.00
                   recently-filed and served pleadings (.2).
12/15/14     CWD   Reviewing docket (.1).                             0.10          $57.00
12/15/14     DAL   Attention to amended schedules (.3).               0.30         $268.50
12/16/14     BPG   Follow-up D. Lowenthal re: call with J. Tecce      0.20         $138.00
                   (.1); attention to e-mail re: same (.1).
12/16/14     CWD   E-mails re noteholder communications (.1).         0.10          $57.00
12/16/14     DAL   TC J. Tecce re amendments to schedules and         0.90         $805.50
                   related issues (.2); e-mail J. Heaney re same,
                   amended schedules and related issues (.7).
12/18/14     BPG   Attention to agenda, minutes, e-mail D.            1.70       $1,173.00
                   Lowenthal re: weekly Committee call (.1);
                   confer C. Dent re: weekly Committee call (.1);
                   review PPI decision, confer D. Lowenthal re:
                   same (1.3); additional follow-up re: same (.2).
12/18/14     CWD   Reviewing docket, TC D. Lowenthal re               0.30         $171.00
                   Committee call (.1); e-mails re PPI decision,
                   TC B. Guiney re same (.2).
12/18/14     DAL   Committee call and related follow-up (.6); e-      1.70       $1,521.50
                   mail re PPI decision (.1); review decision 1.0).
12/27/14     CWD   Reviewing docket (.1).                             0.10          $57.00




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12/29/14     CWD   E-mail from Committee re patent sale,                 0.10           $57.00
                   reviewing docket (.1).
12/31/14     CWD   Reviewing notice of appeal of PPI decision            0.10           $57.00
                   (.1).

                                                   Total Services       23.50       $17,366.00


             Daniel A Lowenthal         8.60 hours at        $895.00 $7,697.00
             Brian P. Guiney            9.80 hours at        $690.00 $6,762.00
             Craig W. Dent              5.10 hours at        $570.00 $2,907.00


                   Filing Fees/Index Fees                                 193.00
                   Misc.                                                   44.00
                   Outside Professional Services                            2.60

                                                   Total Expenses                      $239.60


                                                   Total This Invoice




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                   Patterson Belknap Webb & Tyler LI.P
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                         Invoice No. 816139
400 Madison Avenue                                                              February 17, 2015
New York, NY 10017                                                              FEI No. XX-XXXXXXX

Re: NORTEL                                                                      L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                             January 31, 2015 In Connection With The Following:


12/16/14      BPG       Follow-up D. Lowenthal re: call with J. Tecce            0.20          $138.00
                        (.1); attention to e-mail re: same (.1).
12/16/14      CWD       E-mails re noteholder communications (.1).               0.10            $57.00
12/16/14      DAL       TC J. Tecce re amendments to NNI schedules               0.90          $805.50
                        and related issues (.2); e-mail J. Heaney re
                        amended schedules and related issues (.7).
1 2/1 8/14    BPG       Attention to agenda, minutes, e-mail D.                  1.70        $1,173.00
                        Lowenthal re: weekly Committee call (.1);
                        confer C. Dent re: weekly Committee call (.1);
                        review PPI decision, confer D. Lowenthal re:
                        same (1.3); additional follow-up re: same (.2).
12/18/14      CWD       Reviewing docket, TC D. Lowenthal re                     0.30          $171.00
                        Committee call (.1); e-mails re PPI decision,
                        TC B. Guiney re same (.2).
12/18/14      DAL       Committee call and related follow-up (.6); e-            1.70        $1,521.50
                        mail re PPI decision (.1); review PPI decision
                        (1.0).
12/27/14      CWD       Reviewing docket (.1).                                   0.10            $57.00
12/29/14      CWD       E-mail from Committee re patent sale,                    0.10            $57.00
                        reviewing docket (.1).
12/31/14      CWD       Reviewing notice of appeal of PPI decision               0.10            $57.00




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1 /5/15        BPG   Attention to notice of appeal, follow-up re:         1.80     $1,278.00
                     same (.2); review draft factum and follow-up
                     (.4); work on status report (1.1); follow-up re:
                     same (.1).
1 /5/15        CWD   Reviewing docket (.1); e-mails re PPI factum         0.20       $126.00
                     (.1).
1 /5/15        DAL   E-mails with Law Debenture re status report          2.00     $1,860.00
                     (.2); review draft appeal factum re Canada PPI
                     decision (1.1); review and revise Law
                     Debenture status report (.7).
1/6/15         BPG   Attention to e-mails re: Canadian factum,            0.30       $213.00
                     follow-up re: same (.2); additional follow-up
                     re: same (.1).
1 /6/15        CWD   Reviewing docket, e-mails re revisions to Ad         0.10        $63.00
                     Hoc Group factum re Canadian PPI appeal (.1).
1/6/15         DAL   Review Opinion and Order on PPI settlement           2.80     $2,604.00
                     and Akin memo re same (1.6); review e-mails
                     from Canada and updated draft appeal brief re
                     J. Newbould decision on PPI and send same to
                     J. Heaney (12).
1/7/15         BPG   Attention to agenda and e-mails re: weekly           0.10        $71.00
                     Committee call (.1).
1/7/15         CWD   Reviewing docket, e-mails re PPI factum (.1);        0.20       $126.00
                     reviewing agenda for Committee call (.1).
1/7/15         DAL   Review updated draft appeal brief in Canada          1.50     $1,395.00
                     and E. Lamek's comments (.8); review Akin
                     memo re J. Gross's decision on PPI settlement
                     (.3); review Monitor's notice of appeal (.2);
                     review J. Newbould decision re UKPC claims
                     (.1); review Committee agenda for Committee
                     call (.1).
1/8/15         BPG   Attention to notes from weekly Committee call        0.20       $142.00
                     and follow-up (.1); consider case status with D.
                     Lowenthal (.1).
1/8/15         DAL   E-mails with Canadian counsel re factum for          0.20       $186.00
                     appeal (.2).
1/13/15        CWD   Reviewing docket (.1).                               0.10        $63.00




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1/14/15       CWD   Reviewing docket, e-mails from Committee re          0.40        $252.00
                    Monitor's PPI appeal (.4).
1/15/15       BPG   Follow-up re: 1/20 hearing (.1).                     0.10         $71.00
1/15/15       CWD   Reviewing docket and Agenda for 1/20                 0.50        $315.00
                    hearing, e-mails re same w/D. Lowenthal (.2);
                    reviewing and revising monthly fee statement,
                    note to accounting department re same, e-mail
                    to D. Lowenthal re same (.3).
1/16/15       CWD   E-mails re Canadian PPI appeals and IT               0.10         $63.00
                    factums, reviewing docket (.1).
1/20/15       DAL   Work on fee statement (.2).                          0.20        $186.00
1/21/15       CWD   Reviewing docket and amended UKPC notice             0.20        $126.00
                    of appeal of Canadian decision (.2).
1/22/15       BPG   Review materials for Committee call (.6);            1.10        $781.00
                    participate on same and follow-up (.5).
1/22/15       CWD   Reviewing docket (.1); OC B. Guiney re               0.20        $126.00
                    Committee call (.1).
1/22/1 5      DAL   Review UKP's issues on appeal and Monitor's          1.40      $1,302.00
                    issues on appeal, and TC with Committee re
                    same (1.4).
1/23/15       BPG   Attention to hearing dates (.1).                    0.10          $71.00
1/23/15       CWD   Reviewing docket (.2).                              0.20         $126.00
1/27/15       CWD   E-mails re Committee call, reviewing docket         0.20         $126.00
                    (.2).
1/27/15       DAL   Review designation of record (1.2).                  1.20      $1,116.00
1/28/15       CWD   E-mails re Committee call, reviewing agenda re      0.20         $126.00
                    same (.2).
1/29/15       BPG   Review e-mail from C. Dent, consider same           0.50         $355.00
                    and follow-up re: same (.5).
1/29/15       CWD   Committee call, OC B. Guiney re same, e-mails       0.90         $567.00
                    re same w/D. Lowenthal and B. Guiney (.9).
1/30/15       BPG   Confer C. Dent re: trade claims and follow-up       0.20         $142.00




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1/30/15       CWD OC B. Guiney re Committee call (.1).                 0.10         $63.00
1/30/15       DAL Review information re Canadian PPI appeal,           1.40      $1,302.00
                    trade creditor issues re distributions, and
                    upcoming UKPC meeting (1.2); e-mails with E.
                    Lamek re upcoming factum due in support of
                    bondholders' PPI appeal in Canada (.2).

                                                 Total Services       23.90     $19,380.00


               Daniel A. Lowenthal      10.70 hours at     $930.00 $9,951.00
               Daniel A. Lowenthal       2.60 hours at     $895.00 $2,327.00
               Brian P. Guiney           4.40 hours at     $710.00 $3,124.00
               Brian P. Guiney           1.90 hours at     $690.00 $1,311.00
               Craig W. Dent             3.60 hours at     $630.00 $2,268.00
               Craig W. Dent             0.70 hours at     $570.00   $399.00


                                                 Total Expenses                      $0.00


                                                 Total This Invoice            119.380a0




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                   Patterson Belknap Webb &Tyler LLP
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                        Invoice No. 818167
400 Madison Avenue                                                             March 6, 2015
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                             CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                            February 28, 2015 In Connection With The Following:


2/2/15       BPG      Review agenda for hearing and follow-up re:              0.30           $213.00
                      open items related to appeal, follow-up re:
                      cancellation of hearing (.3).
2/2/15       DAL      Review Monitor's Reports served by the                   0.50           $465.00
                      Canadian Debtors (.5).
2/3/15       BPG      Attention to materials filed in Canada (.1).             0.10            $71.00
2/3/15       DAL      Review certification of counsel re E&Y                   0.10            $93.00
                      retention (.1).
2/4/15       BPG      Attention to e-mails and agenda re: 2/5                  0.20           $142.00
                      Committee call (.2).
2/4/15       DAL      E-mails with Committee counsel re update (.2);           1.20         $1,116.00
                      initial review of motion returnable on February
                      27 (1.0).
2/5/15       BPG      Review trial record stipulation and follow-up            1.40           $994.00
                      re: same, e-mails re: same (.6); prepare for and
                      participate on Committee call and follow-up
                      (.8).
2/5/15       DAL      Committee call (.8); review record per US                 1.00          $930.00
                      Debtors' request (.2).
2/6/15       BPG      Follow-up re: trial stipulation and attention to         0.20           $142.00
                      e-mails re: same (.2).
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2/6/15     DAL   TC S. Miller re update on settlement talks (.2);    1.30      $1,209.00
                 review record per Debtors' request, send
                 revisions to Cleary, e-mail documents to S.
                 Miller and E. Lamek, and send all to J. Heaney
                 (1.1).
2/9/15     BPG   Review agenda and schedule for next week,           0.20        $142.00
                 follow-up re: Solus hearing (.2).
2/9/15     CWD   Reviewing docket, e-mails re Court calendar         0.30        $189.00
                 with managing clerk's office (.3).
2/10/15    CWD   Reviewing e-mail from Committee counsel re          0.10         $63.00
                 Canadian late filed claims Order (.1).
2/10/15    DAL   Review update from E. Lamek re factum in            2.10      $1,953.00
                 Canada (.3); review e-mail from Committee
                 counsel re Scheduling Order concerning motion
                 of Canadian employees to file late claims in
                 US, review Scheduling Order and relevant
                 motion papers filed by movants, US Debtors,
                 Committee, and bondholders (1.8).
2/12/15    BPG   Prepare for and participate on Committee call       1.20        $852.00
                 (.6); follow-up re: same (.1); follow-up re:
                 Solus hearing (.1); review memo re: SNMP
                 Research International adversary proceeding
                 (.4)
2/12/15    CWD   Reviewing docket (.1).                              0.10         $63.00
2/12/15    DAL   Committee call (.6).                                0.60        $558.00
2/13/15    CWD   Reviewing and revising monthly fee statement,       0.30        $189.00
                 note to accounting department re same (.2);
                 reviewing docket (.1).
2/1 3/15   DAL   E-mails with F. Godino re Committee call (.1);      1.00        $930.00
                 TC F. Godino re same (.1); Committee call and
                 follow-up with F. Godino (.8).
2/17/15    CWD   Reviewing docket (.1); finalizing fee statement,    0.30        $189.00
                 e-mail to D. Lowenthal re same (.2).
2/18/15    CWD   Reviewing docket, e-mails re Committee call         0.10         $63.00
                 (.1).
2/19/15    DAL   Committee call and follow-up with F. Godino         0.70        $651.00
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2/23/15      BPG    Review summary of call and follow-up re:               0.30        $213.00
                    same (.3).
2/23/15      CWD Reviewing docket, e-mails re Committee call,              0.10          $63.00
                  reviewing agenda re same (.1).
2/24/15      BPG    Review materials in advance of Committee call          1.90       $1,349.00
                    and prepare for same (1.0); participate on same
                    and follow-up (.9).
2/24/15      CWD Reviewing Capstone presentation re recoveries             0.30        $189.00
                  (.2); reviewing docket (.1).
2/24/1 5     DAL    Review chart re settlement (.2); Committee call        1.20       $1,116.00
                    (1.0).
2/25/15     CWD Reviewing docket (.1).                                     0.10          $63.00
2/26/15     BPG     Confer D. Lowenthal re: joinder in late-filed          1.40        $994.00
                    claims motion, review bondholders' joinder,
                    follow-up re: same (.6); reviewing settlement
                    deck and follow-up re: same (.8).
2/26/15     DAL TC E. Lamek re factum due re PPI (.2); review             2.40        $2,232.00
                  briefs re late filed Canadian claims (2.2).
2/27/15     CWD Reviewing docket (.1).                                     0.10         $63.00
2/27/15     DAL     Court status conference (1.1).                        1.10        $1,023.00

                                                     Total Services       22.20      $18,522.00


              Daniel A Lowenthal         13.20 hours at        $930.00 $12,276.00
              Brian P. Guiney             7.20 hours at        $710.00 $5,112.00
              Craig W. Dent               1.80 hours at        $630.00 $1,134.00


                    Tvl. Transportation/Lodging                             285.00

                                                     Total Expenses                    $285.00


                                                     Total This Invoice              $18,807,00
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                   Patterson Belknap Webb & Tyler LLP
         1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                        Invoice No. 820094
400 Madison Avenue                                                             April 8, 2015
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                             March 31, 2015 In Connection With The Following:


3/2/15       BPG      Attention to CCAA pleadings and follow-up                 0.20          $142.00
                      (.1); follow-up re: 3/3 hearing (.1).
3/2/15       CWD       Reviewing docket (.1).                                   0.10            $63.00
3/3/15       BPG       Attention to responding factum (.3).                     0.30          $213.00
3/3/15       DAL       Review draft factum and provide comments to              0.80          $744.00
                       E. Lamek and BNYM's counsel (.8).
3/4/15       CWD      Revising monthly fee statement, note to                   0.30          $189.00
                      accounting department re same (.2); reviewing
                      docket (.1).
3/5/15       BPG       Prepare for and participate on weekly call,              0.80          $568.00
                       follow-up re: same (.8).
3/5/15       CWD      Reviewing docket (.1); Committee call, OC D.              1.50          $945.00
                      Lowenthal and B. Guiney re same (.6);
                      reviewing revised IT PPI factum, follow up re
                      same, e-mails re same w/D. Lowenthal (.8).
3/5/15       DAL      Prepare for and participate in Committee call            2.40         $2,232.00
                      (1.00); review and revise draft Canadian factum
                      (2.4).
3/6/15       BPG      Attention to e-mails re: factum, follow-up re:            0.50          $355.00
                      same and confer D. Lowenthal re: same (.5).
3/6/15       CWD      Finalizing fee statement,'e-mails w/D.                   0.30           $189.00
                      Lowenthal re same (.2); reviewing docket, e-
                      mail from Committee re ASM meeting (.1).
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3/6/15      DAL Continued work on factum re PPI appeal and             2.00      $1,860.00
                  provide comments to E. Lamek (1.9); emails
                  with Committee counsel and J. Heaney re in-
                  person meeting with trade creditor (.1).
3/9/15      BPG Attention to Law Debenture / BNY factum and            0.20        $142.00
                   points of authorities (.2).
3/9/15      CWD Reviewing docket (.1).                                 0.10         $63.00
3/9/15      DAL Review brief filed in Canada on PPI and emails         0.90        $837.00
                  with E. Lamek (.9).
3/10/15     CWD Reviewing letter re GUCs, reviewing docket             0.10         $63.00
                 (.1).
3/10/15     DAL Review letter from Brown Rudnick re interim            0.30        $279.00
                  distributions (.3).
3/11/15     BPG    Review Brown Rudnick letter, consider same,         0.80        $568.00
                   confer D. Lowenthal re: same (.6); follow-up
                   B. Kahn re: same (.1); follow-up C. Dent re:
                   same (.1).
3/11/15     CWD Reviewing docket (.1); TC B. Guiney re Hain            0.20        $126.00
                 Capital letter (.1).
3/11/15     DAL    Consider trade creditors' request with B.           0.20        $186.00
                   Guiney (.2).
3/12/15     BPG    Prepare for and attend UCC meeting (2.9);           4.00      $2,840.00
                   follow-up re: same with D. Lowenthal (for
                   part) and C. Dent (for part) (.6); begin working
                   on quarterly report (.5).
3/12/1 5    CWD Reviewing docket, OC D. Lowenthal and B.               0.60        $378.00
                 Guiney re ASM meeting (.2).
3/12/1 5    DAL Prepare for and attend Committee meeting with          4.20      $3,906.00
                   creditor and US Debtors, review relevant
                   documents, and related follow-up (4.00);
                   review hearing Agenda (.2).
3/13/15     BPG    Confer D. Lowenthal re: trade creditor issues       0.50        $355.00
                   and follow-up re: same (.5).
3/13/15     DAL Follow-up to Committee meeting re request              0.10         $93.00
                  from trade creditors (.1).
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3/16/15    CWD   Reviewing docket (.2).                                0.20        $126.00
3/17/15    BPG   Work on quarterly update, confer D. Lowenthal         3.00      $2,130.00
                 re: same, confer C. Dent re: same (3.0).
3/17/15    CWD   OC B. Guiney re quarterly update (.1).                0.10         $63.00
3/17/15    DAL   Work on client update (.1).                          0.10          $93.00
3/18/15    DAL   Emails from J. Heaney and to Akin re                 0.10          $93.00
                 Committee call (.1).
3/19/15    BPG   Review materials for UCC call (.4); participate       1.10        $781.00
                 on same and follow-up (.6); follow-up D.
                 Lowenthal re: same (.1).
3/19/15    CWD   Reviewing and revising quarterly case update         0.80         $504.00
3/19/15    DAL   Committee call (.9).                                 0.90         $837.00
3/20/15    BPG   Attention to revised update (.1).                    0.10          $71.00
3/20/15    CWD   Finish reviewing quarterly client update, e-         0.30         $189.00
                 mails w/D. Lowenthal and B. Guiney re same.
3/20/15    DAL   Review and revise draft client update and send       0.50         $465.00
                 to Law Debenture (.5).
3/24/15    BPG   Attention to 3/26 hearing, attention to pleadings    0.50         $355.00
                 related to same (.5).
3/25/15    CWD   Reviewing docket, e-mails re Committee call          0.10          $63.00
                 (.1).
3/26/15    BPG   Prepare for and monitor hearing on late-filed        2.60       $1,846.00
                 claims motion (for part); (1.1); prepare for and
                 participate on UCC call, update D. Lowenthal
                 re: same (.8); continue monitoring same (for
                 part) (.7).
3/26/15    CWD   Reviewing docket (.1); Committee call,               0.90         $567.00
                 reviewing Capstone deck re same (.8).
3/26/15    DAL   Review Capstone presentation re possible             1.00         $930.00
                 interim distribution analysis (.5); emails from
                 B. Guiney re Court hearing update (.1); review
                 B. Guiney summary of developments (.4).
3/27/15    DAL   Review letters to J. Gross from US Debtors'          0.90        $837.00
                 counsel and ad hoc claimants (.9).
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3/31/15    BPG    Review docket, follow-up re: no-call issues         0.70         $497.00
                  (.1); review appeal brief (.6).
3/31/15    CWD    Reviewing docket (.1).                              0.10          $63.00
3/31/15    DAL    Send make whole/no-call decision to J. Tecce        0.20         $186.00
                  (.2).

                                                Total Services       35.60      $28,032.00


            Daniel A Lowenthal         14.60 hours at     $930.00 $13,578.00
            Brian P. Guiney            15.30 hours at     $710.00 $10,863.00
            Craig W. Dent               5.70 hours at     $630.00 $3,591.00


                  Filing Fees/Index Fees                                58.00

                                                Total Expenses                      $58.00


                                                Total This Invoice              $28..090.00
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                       Patterson Belknap Webb & lyler ILP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                           Invoice No. 822259
400 Madison Avenue                                                                May 27, 2015
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                  April 30, 2015 In Connection With The Following:


4/1/15          CWD       Reviewing PPI appeal brief                               0.20           $126.00
4/1/15          DAL       Tc F. Hodara re case issues (.3); review                 1.00           $930.00
                          Canadian Monitor's brief re PPI appeal (.7).
4/2/15          BPG       Prepare for (.1); participate on weekly call,            0.60           $426.00
                          follow-up re: same (.5).
4/2/15          CWD       Committee call (.5).                                     0.50           $315.00
4/2/15          DAL       Prepare for and participate in Committee call            0.80           $744.00
                          (.8).
4/14/15         CWD       Reviewing docket, e-mails re hearing calendar            0.20           $126.00
                          with managing clerk (.2).
4/15/15         BPG       Confer D. Lowenthal re: open issues (.4);                0.60           $426.00
                          follow-up re: escrow terms (.2).
4/15/15         CWD       E-mails re Committee call and Canadian                   0.10            $63.00
                          hearing, reviewing docket (.1).
4/15/15         DAL       Conf. B. Guiney re status (.4); review email             0.60           $558.00
                          from Committee's Canadian counsel re IP sale
                          (.2).
4/18/15         BPG       Confer C. Samis re: allocation opinion (.2).             0.20           $142.00
4/20/15         CWD       Follow up re hearing cancellation per B.                 0.10            $63.00
                          Guiney (.1).




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4/22/15      BPG   Prepare for and participate on weekly call,         0.60        $426.00
                   follow-up re: same (.5); follow-up re: PPI
                   appeal in Canada (.1)
4/22/15      CWD   Committee call (.2); reviewing docket, e-mails      0.30        $189.00
                   re PPI appeal (.1).
4/22/15      DAL   Tc E. Lamek re PPI appeal hearing preparation       0.60        $558.00
                   (.4); email update to J. Heaney (.2).
4/23/15      DAL   Tc M. Riela re argument in Canada; tc E.            0.70        $651.00
                   Lamek re same; leave message for J. Heaney;
                   tc J. Heaney (.7).
4/24/15      BPG   Confer D. Lowenthal re: appeal in Toronto,          0.50        $355.00
                   review materials relating to same (.5).
4/24/15      CWD   Reviewing docket, OC D. Lowenthal re PPI            0.10         $63.00
                   appeal hearing (.1).
4/24/15      DAL   Prepare for hearing on PPI in Canada (1.8).         1.80      $1,674.00
4/27/15      DAL   Review appeal briefs (1.0).                         1.00        $930.00
4/28/15      DAL   Review appeal briefs and travel to Toronto for      5.00      $4,650.00
                   oral argument (5.0).
4/29/15      BPG   Attention to e-mails regarding appeal hearing       0.10         $71.00
                   (.1).
4/29/15      CWD   Reviewing docket, e-mails re hearing (.1).          0.10         $63.00
4/29/15      DAL   Prepare for and attend appellate argument on       10.00      $9,300.00
                   Canadian PPI issue in Toronto, related follow-
                   up, and travel to NY (10.0).
4/30/15      BPG   Prepare for and participate on weekly call (.8).    0.80        $568.00
4/30/15      CWD   Reviewing docket (.1); Committee call, OC D.        0.90        $567.00
                   Lowenthal and B. Guiney re PPI hearing (.8).
4/30/15      DAL   Follow-up on Canadian hearing (.9);                 1.70      $1,581.00
                   Committee call (.8).




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                                                  Total Services       29.10      $25,565.00


              Daniel A Lowenthal        23.20 hours at $930.00 $21,576.00
              Brian P. Guiney            3.40 hours at $710.00 $2,414.00
              Craig W. Dent              2.50 hours at $630.00 $1,575.00


                    Filing Fees/Index Fees                               181.00
                    Tvl - Meals                                           48.94
                    Tvl. Transportation/Lodging                          481.84

                                                  Total Expenses                    $711.78


                                                  Total This Invoice              $26.276.78




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                       Patterson Belknap Webb &lyler
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 824566
400 Madison Avenue                                                                June 8, 2015
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                                 May 31, 2015 In Connection With The Following:


5/1/15          BPG       Follow-up re: 5/5 hearing, confer D. Lowenthal           0.20          $142.00
                          re: same (.2).
5/1/15          CWD       E-mails re hearing, reviewing docket (.1).               0.10            $63.00
5/5/15          BPG       Monitor hearing and follow-up re: same (.5);             1.00          $710.00
                          OC D. Lowenthal re: same, confer C. Dent re:
                          same (for part) (.5).
5/5/15          CWD       Reviewing docket (.1); e-mails re hearing, OC            0.20          $126.00
                          D. Lowenthal re same (.1).
5/5/15          DAL       Review documents re Court status conf, attend            4.80        $4,464.00
                          same and update memo to J. Heaney and travel
                          to NY (4.8).
5/7/15          BPG       Weekly UCC call (.2).                                    0.20          $142.00
5/7/15          CWD       Committee call (.2).                                     0.20          $126.00
5/8/15          CWD       Reviewing docket (.1).                                   0.10            $63.00
5/12/15         BPG       Reviewing and discussing allocation decisions            2.10        $1,491.00
                          (2.1).
5/12/15         CWD       E-mails re allocation decisions, begin                   1.60        $1,008.00
                          reviewing same, TC B. Guiney re same, TC D.
                          Lowenthal re same (1.6).
5/12/15         DAL       Email from Committee re allocation decision              3.10        $2,883.00
                          (.1); tc S. Miller re same (.2); leave detailed
                          vmail for E. Lamek and emails with E. Lamek
                          re same (.1); initial review of allocation
                          decisions (2.5); email decisions to J. Tecce, S.
                          Miller, and E. Lamek (.2).



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5/13/15       BPG     Review Canadian allocation decision (1.5);            2.50      $1,775.00
                      follow-up re: same, consider same and discuss
                      with D. Lowenthal (for part) (1.0).
5/13/15       CWD TC D. Lowenthal re allocation decision, OC B.             1.30        $819.00
                   Guiney re same, finish reviewing US allocation
                   decision (1.2); emails re Canadian claim,
                   follow up re same (.1).
5/13/15       DAL     Continue review of allocation decisions (1.7);        3.90      $3,627.00
                      email colleagues re next steps (.3); tc M. Fagan
                      re Committee call (.1); email J. Heaney re same
                      (.1); conf B. Guiney re same (.3); tc S. Miller re
                      same (.4); email E. Lamek re NNCC claims
                      (.6); emails with J. Heaney re decisions (.4).
5/14/15       BPG     Reviewing Capstone presentation, confer D.            4.90      $3,479.00
                      Lowenthal re: same, TCs with Capstone re:
                      same, TC J. Tecce re: same, participate on
                      UCC call re: same and follow-up, reviewing
                      PPI appeal brief and follow-up (4.9).
5/14/15       CWD Reviewing Capstone recovery deck in advance               2.00      $1,260.00
                   of Committee call, participate in same, e-mails
                   re same (2.0).
5/14/15       DAL Review Capstone materials ; tc Capstone; tc J.            3.00      $2,790.00
                    Tecce; Committee call; emails with S. Miller
                    and E. Lamek.
5/15/15       BPG     Continue reviewing and considering open               0.50        $355.00
                      issues, follow-up re: appeal period (.5).
5/15/15       CWD Reviewing docket (.1).                                    0.10         $63.00
5/15/15       DAL     Tc J. Heaney re appeal and direction letter (.2).     0.20        $186.00
5/18/15       BPG     Confer D. Lowenthal re: PPI brief, re:                1.00        $710.00
                      allocation appeal, follow-up C. Dent re: PPI
                      (.5); tc S. Miller and follow-up re: same (.5).
5/18/15       CWD Emails re PPI brief, TC B. Guiney re same,                0.50        $315.00
                   leave message for M. Fagen re same, TC same
                   re same, OC D. Lowenthal re same, OC B.
                   Guiney re same (.5).




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5/18/15      DAL     Analyze potential appeal issues (.3); tc D.          2.10      $1,953.00
                     Holzman re strategy (.2); email J. Heaney re
                     same (.3); review decision (1.3).
5/19/15      BPG     TC D. Lowenthal and C. Dent re: status,              3.90      $2,769.00
                     multiple TCs re: motion for reconsideration and
                     appeal, follow-up re: same (2.1); working on
                     motion for reconsideration (1.8).
5/19/15      CWD Meeting w/D. Lowenthal and B. Guiney re                  2.10      $1,323.00
                  appeal issues, TC Cleary re same, TC Akin re
                  same, TC Quinn re same (2.1).
5/19/15      DAL     Analysis re motion for reconsideration (.3); tc       5.20     $4,836.00
                     A. LeBlanc re same (.4); tc A. Qureshi re same
                     (.4); tc L. Schweitzer re same (.2); review PPI
                     settlement order (.4); analysis with B. Guiney
                     and C. Dent (1.6); tc D. Holzman re same (.3);
                     tc R. Johnson re same (.2); tc J. Heaney (.2); tc
                     S. Miller re same (.9); work on motion for
                     reconsideration (.1); tc D. Holzman (.1); emails
                     from M. Fagen and J. Heaney (.1).
5/20/15      BPG     Continue working on motion to reconsider             1.10        $781.00
                     (1.1).
5/20/15      CWD E-mails re motion for reconsideration (.2);              0.40        $252.00
                   reviewing Committee summary re Canadian
                   appellate process (.1); OC D. Lowenthal re
                   Canadian appeal issues (.1).
5/20/15      DAL Email E. Lamek (.1); tc E. Lamek re motion for           2.10      $1,953.00
                   reconsideration (.5); review Canadian appeal
                   chart (.2); draft motion for reconsideration
                   (1.5).
5/21/15      BPG     Prepare for and participate on conference call,      3.30      $2,343.00
                     review materials i/c/w same (1.6); continue
                     working on motion for reconsideration, meet
                     and confer D. Lowenthal and C. Dent re: same,
                     follow-up re: same (1.7).




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5/21/15       CWD E-mails re motion for reconsideration, follow          4.30        $2,709.00
                    up re same, reviewing same, revising same, OC
                    D. Lowenthal and B. Guiney re same (2.6);
                    preparing for and participating in Committee
                    call, OC D. Lowenthal and B. Guiney re same
                    (1.7)
5/21/15       DAL Draft motion for reconsideration (2.8) analyze         4.60        $4,278.00
                    issues re same (.3); Committee call (1.2);
                    emails with Quinn and send draft motion (.3).
5/22/15       BPG     Consider motion for reconsideration and            0.50         $355.00
                      follow-up D. Lowenthal and C. Dent re: same
                      (.5).
5/22/15       CWD E-mails re motion for reconsideration, TC B.           0.80         $504.00
                    Guiney re same, OC same re same, follow up re
                    same (.5); reviewing Debtors' draft motion for
                    reconsideration, e-mails re same (.3).
5/22/15       DAL Work on motion for reconsideration (2.2);              4.00        $3,720.00
                   emails with D. Holzman re same (.3); emails
                   with Akin re same (.3); emails with E. Lamek
                   re allocation appeal issues (.2); review draft
                   objection to exclusivity motion (.3); review US
                   Debtors' draft motion for reconsideration (.9).
5/25/15       BPG     Review draft motion for reconsideration, e-        3.10        $2,201.00
                      mails re: same and follow-up, participate on
                      UCC call and follow-up (3.1).
5/25/15       CWD E-mails re responses to allocation decision,           0.70         $441.00
                    reviewing same (.7).
5/25/15       DAL Email J. Heaney re status of motions for               2.10        $1,953.00
                    reconsideration (.2); prepare for and participate
                    in Committee call (1.2); emails with Quinn re
                    motion (.3); review Quinn's revision to same
                    (.3); email UCC re status ( .1).




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5/26/15      BPG Reviewing and revising motions for                     7.00      $4,970.00
                   reconsideration, incl. tc with J. Tecce with D.
                   Lowenthal, for part (2.5); revising motion to
                   reconsider (1.0); attention to revised draft and
                   proposed order, follow-up re: same (.5);
                   additional follow-up re: same, finalize same
                   and coordinate filing (1.0); TC R. Johnson re:
                   same, review final UCC pleading, review
                   Cleary pleading (.5); multiple TCs and e-mails
                   with S. Miller and D. Lowenthal re: proposed
                   orders, follow-up re: same, circulate filed
                   version of motion to reconsider (1.5).
5/26/15      CWD E-mails and follow up re motion for                    2.70      $1,701.00
                   reconsideration of allocation decision, meeting
                   w/D. Lowenthal and B. Guiney re same, TC
                   Quinn re same (1.8); Committee call (.9).
5/26/15      DAL Review Debtors' and bondholders' draft                8.50       $7,905.00
                   motions and revise and finalize Law
                   Debenture's motion for reconsideration (5.3); tc
                   J. Tecce re same (.4); tc J. Heaney re same (.2);
                   Committee call (1.0); tc S. Miller re same (.3);
                   tc Lisa Schweitzer re same (.2); review draft
                   Order (.7); tc E. Lamek re next steps in Canada
                   (.4).
5/27/15      BPG     Review final, filed versions of motions to        1.30         $923.00
                     reconsider, follow-up re: same (1.0); follow-up
                     D. Lowenthal re: open issues (.3).
5/27/15      CWD TC D. Lowenthal re Canadian appeal issues, e-          0.50        $315.00
                  mails re same (.5).
5/27/15      DAL Review motions for reconsideration (2.2);              5.70      $5,301.00
                   review BNYM Joinder (.3); review US
                   Debtors' request for a joint hearing (.2); send
                   motions to J. Heaney (.2); tc E. Lamek re next
                   steps in Canada (.6); email J. Heaney re same
                   (1.0); review J. Newbould decision re possible
                   appeal issues (1.2).
5/28/15      BPG     Prepare for and participate on weekly call,       1.50       $1,065.00
                     follow-up re: same (1.0); follow-up re: appeal
                     issues in Canada (.5).




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5/28/15      CWD E-mails re reconsideration motions, OC B.                0.90        $567.00
                   Guiney re same, TC D. Lowenthal re same (.8);
                   reviewing docket (.1).
5/28/15      DAL Email from J. Tecce to L. Schweitzer (.1);               2.20       $2,046.00
                   Committee call (.6); tc E. Lamek re issues in
                   Canada re possible motions for reconsideration
                   and leave to appeal (.2); tcs B. Guiney, C.
                   Dent, and E. Lamek re developments in Canada
                   for May 29 hearing - motion for
                   reconsideration and leave to appeal (.3); review
                   draft motion to reconsider for Canada and
                   emails with J. Tecce and E. Lamek re same
                   (1.0).
5/29/15      CWD E-mails re Canadian hearing (.1); OC D.                  0.90        $567.00
                   Lowenthal re note issues, TC D. Lowenthal re
                   same, follow up re same (.8).
5/29/15      DAL Update from Canadian Court proceeding (.5);              1.80       $1,674.00
                   emails with E. Lamek and J. Tecce (.3); review
                   offering documents (.5); tc J. Heaney (.1) tcs J.
                   Tecce and J. Heaney re offering documents
                   (.4).
5/31/15      CWD Reviewing docket (.1).                                   0.10         $63.00

                                                   Total Services       106.90      $86,065.00


              Daniel A Lowenthal          53.30 hours at $930.00 $49,569.00
              Brian P. Guiney             34.10 hours at $710.00 $24,211.00
              Craig W. Dent               19.50 hours at $630.00 $12,285.00


                     Filing Fees/Index Fees                                214.00
                     Lexis Electronic Research                              18.81
                     Reproduction                                           74.40
                     Tvl. Transportation/Lodging                           555.33

                                                   Total Expenses                     $862.54


                                                   Total This Invoice               $86,927.54




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                      Patterson Belknap Webb & TYler LLP
             1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                           Invoice No. 826496
400 Madison Avenue                                                                July 16, 2015
New York, NY 10017                                                                FEI No. XX-XXXXXXX

Re: NORTEL                                                                        L0353-000007


                                 CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                                  June 30, 2015 In Connection With The Following:


6/1/15          BPG       Review e-mails and attachments regarding                 2.40        $1,704.00
                          issuance of 2026 Notes (1.2); confer C. Dent
                          re: same and follow-up (.4); tc D. Lowenthal
                          re: same (.8).
6/1/15          CWD TC B. Guiney re noteholder call (.4).                          0.40          $252.00
6/1/15          DAL       Tc B. Guiney re Indenture issues (.5).                   0.50          $465.00
6/2/15          BPG       Confer D. Lowenthal re: call with holders,               2.40        $1,704.00
                          prepare for same (.4); attention to notice and re-
                          notice issue, follow-up S. Miller re: same and
                          confer D. Lowenthal re: same (.5); participate
                          on call with holders' counsel and follow-up
                          (1.1); follow-up C. Dent re: same (.4).
6/2/15          CWD E-mails and follow up re note issuance issues,                 1.00          $630.00
                      TC D. Lowenthal re same (.8); TC B. Guiney
                      re noteholder call (.2).
6/2/15          DAL       Send documents to E. Lamek (.1); email from              4.50        $4,185.00
                          D. Holzman and follow-up re his request for
                          documents (.8); tc J. Heaney re same (.2);
                          prepare for and participate in call with holders
                          and counsel and related follow-up with B.
                          Guiney and J. Heaney (3.0); review letter from
                          US Trustee's office, email from holders'
                          counsel and email from Committee counsel re
                          Committee membership (.2); review re-noticed
                          motion for Law Debenture and send to J.
                          Tecce, D. Holzman, and J. Heaney (.2).




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6/3/15        BPG     Attention to scheduling dispute and                   1.00        $710.00
                      correspondence re: same, follow-up D.
                      Lowenthal re: same (.5); confer C. Dent re:
                      open issues, review e-mails re: same and re:
                      direction from Court, follow-up D. Lowenthal
                      re: same (.4); attention to e-mails re: same (.1).
6/3/15        CWD E-mails re hearing and response deadline for             0.20         $126.00
                    motions for reconsideration, OC B. Guiney re
                    same (.2).
6/3/15        DAL Review letter from US Debtors' counsel to J.              1.60      $1,488.00
                    Gross (.1); review email from Monitor's
                    counsel (.1); tc D. Bolter re scheduling (.1);
                    review letter from US Debtors' Canadian
                    counsel to J. Newbould (.1); Tc J. Borow and
                    C. Kearns re case issues (.1); review NOA from
                    trade group (.1); review email from
                    bondholders' counsel re the Monitor's proposed
                    briefing schedule (.1); email J. Heaney with
                    recommendation (.1); leave detailed message
                    for E. Lamek and email to E. Lamek re same
                    (.1); email counsel for all Core Parties re Law
                    Debenture's rejection of Monitor's proposed
                    schedule (.2); email S. Miller re US Debtors'
                    letter (.1); email to J. Tecce and D. Holzman
                    with US Debtors' letter to J. Gross (.1); follow-
                    up with B. Guiney (.2); emails with S. Miller re
                    Judge's rulings and next steps (.2).
6/4/15        BPG     Attention to e-mails re: appearance before J.        1.70       $1,207.00
                      Newbould (.2); follow-up D. Lowenthal re:
                      same, consider same and attention to US
                      Debtors motion for reconsideration in Canada
                      (.8); follow-up e-mails re: new dates and confer
                      D. Lowenthal and C. Dent re: same (.3); review
                      e-mails re: appeal in Canada, review draft
                      motion for reconsideration in Canada (.4).
6/4/15        CWD E-mails re Nortel hearing.                               0.20         $126.00




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6/4/15         DAL     Emails from Monitor's counsel re hearing today       3.30      $3,069.00
                       (.2); emails with E. Lamek and A. Hobhob re
                       same (.3); emails with Cassels re same (.2);
                       email from D. Abbott re teleconference with J.
                       Gross on June 5 (.1); review Order signed by J.
                       Gross re briefing schedule (.1); send same to J.
                       Tecce and D. Holzman (.1); calendar same (.1);
                       tc S. Kukulowicz re hearing in Canada (.3);
                       email E. Lamek re update (.1); tc E. Lamek and
                       D. Holzman re update (.1); work on fee
                       statement (.1); email from J. Tecce re proposal
                       for motion for reconsideration/clarification in
                       Canada (.1); emails with J. Heaney re same
                       (.1); review Law Debenture's re-notice of
                       motion for reconsideration in US (.6); email E.
                       Lamek re drafting motion due in Canada (.1);
                       review information re possible Committee
                       expansion (.6); email J. Heaney re same (.1).
6/5/15         BPG     E-mails with D. Lowenthal re: Committee call,       1.50       $1,065.00
                       other open issues (.2); review draft objection to
                       Debtors' US reconsideration motion, follow-up
                       re: same, confer C. Dent re: same (1.1);
                       attention to motion to reconsider in Canada and
                       follow-up re: same (.2).
6/5/15         CWD E-mails re Canadian filing, OC B. Guiney re             0.40         $252.00
                     same and US appeal issues (.4).
6/5/15         DAL Review revised draft motion for                         4.80       $4,464.00
                     reconsideration in Canada (1.1) emails with E.
                     Lamek re same (.1); emails with J. Tecce re
                     draft pleading (.1); tc J. Heaney re case issue
                     (.1); prepare for and participate in Committee
                     call (1.1); memo to J. Heaney re case issue (.2);
                     review US Debtors' motion for reconsideration
                     (1.5); review draft language for opposition to
                     Debtors' reconsideration motion (.5); email E.
                     Lamek re factum (.1).
6/7/15         DAL Work on opposition to US Debtors' motion for            1.50       $1,395.00
                    reconsideration (1.5).




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6/8/15        BPG     Reviewing draft objection to reconsideration         4.80     $3,408.00
                      motion and confer D. Lowenthal re: same (1.1);
                      follow-up re: same, incl. OC D. Lowenthal and
                      TC L. Schweitzer (1.2); revising same and
                      follow-up (1.3); review draft factum for
                      reconsideration motion in Canada (.4); tc D.
                      Lowenthal re: same (.3); e-mail E. Lamek re:
                      same (.1); revise response to D's
                      reconsideration motion and confer D.
                      Lowenthal re: same (.4).
6/8/15        DAL Work on fee statement (.4); work on response             5.80     $5,394.00
                   to US Debtors' motion for reconsideration,
                   including review draft response with B. Guiney
                   and tc L. Schweitzer and B. Guiney re NNCC
                   bond issues (1.7); revise draft response to US
                   Debtors' reconsideration motion (2.5); review
                   draft factum re reconsideration motion in
                   Canada (.3); provide comments re same to E.
                   Lamek (.2); review Canada pleadings (.7).
6/9/15        BPG     Reviewing and revising response to Debtors'          2.00     $1,420.00
                      motion for reconsideration, follow-up D.
                      Lowenthal re: same, consider same (1.0);
                      reviewing pleadings in Canada and follow-up
                      (1.0)
6/9/15        DAL Revise draft response to US Debtors' motion              2.00     $1,860.00
                    for reconsideration and send same to J. Heaney
                    and Quinn (1.5); tc Akin re appeal deadline
                    (.5).
6/10/15       BPG     Tc with J. Tecce and D. Lowenthal, follow-up         1.60     $1,136.00
                      re: same, revise draft response (1.2); review
                      revised draft, tc D. Lowenthal re: same, revise
                      same (.4).
6/10/15       DAL Work on response to US Debtors'                          4.30     $3,999.00
                   reconsideration motion (2.00); tc with Quinn
                   and B. Guiney re same (.4); further revisions to
                   response (1.0); send updated version to Quinn
                   and J. Heaney (.5); review draft letter re
                   Committee membership and email Akin re
                   same (.4).




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6/11/15       BPG    Review materials for call, follow-up re: same,       2.80       $1,988.00
                     prepare for same (.6); participate on same and
                     follow-up (.5); review revised letter to UST
                     (.1); begin working on quarterly update (.5);
                     review revised version and follow-up (.2);
                     reviewing and revising response to Debtors'
                     reconsideration motion with D. Lowenthal (.5);
                     review SNMP decision (.3); tc C. Dent re: open
                     issues (.1).
6/11/15       DAL    Revise latest draft of response to Debtors'           4.80      $4,464.00
                     motion for reconsideration (2.1); Committee
                     call (.7); email draft response to S. Miller (.2);
                     email revised draft to Quinn (.2); emails with S.
                     Miller re same and proposed order (.3); review
                     J. Gross's decision re SNMP (.3); review
                     updated draft letter to UST and send comments
                     to Akin (1.0).
6/12/15       BPG    Finalize first draft of status report (2.0);          4.50      $3,195.00
                     reviewing responses to reconsideration motion
                     and follow-up re: same, begin outlining reply
                     (2.5).
6/12/15       DAL    Finalize response to US Debtors' motion for           1.50      $1,395.00
                     reconsideration (.4); email same to J. Heaney
                     (.2); emails with S. Miller re filing today (.2);
                     begin review of motions for reconsideration
                     (.7).
6/14/15       DAL    Continued review of reconsideration replies           0.40        $372.00
                     (.4).
6/15/15       BPG    Confer D. Lowenthal re: responses to motions          1.00        $710.00
                     for reconsideration (.2); follow-up re: reply
                     date (.1); confer D. Lowenthal re: motions and
                     reply, other open issues (.4); confer C. Dent re:
                     reply (.3).
6/15/15       CWD OC B. Guiney re responses to Law Debenture               0.30        $189.00
                   motions for reconsideration (.2); reviewing
                   docket (.1).




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6/15/15      DAL      Tc B. Guiney re responses to reconsideration          2.50      $2,325.00
                      motion (.1); email same to J. Tecce and D.
                      Holzman (.1); email same to E. Lamek (.1);
                      continued review of reconsideration responses
                      (1.7); conf B. Guiney re case issues (.5).
6/16/15       BPG     Finalize quarterly report (.4); confer D.             1.90      $1,349.00
                      Lowenthal re: reply and work on drafting same
                      (1.5).
6/16/15       CWD Reviewing and revising quarterly update, TC               0.50        $315.00
                   B. Guiney re same (.5).
6/16/15       DAL     Continued review of objections/responses to           5.20      $4,836.00
                      reconsideration motions (2.7); tc E. Lamek re
                      reply briefs/factums (.2); draft reply (2.3).
6/17/15       BPG     Review revised pleading, follow-up re: same,          1.50      $1,065.00
                      confer D. Lowenthal re: same, confer C. Dent
                      re: same (1.1); follow-up D. Lowenthal re:
                      same and consider same (.4).
6/17/15       CWD TC B. Guiney re response to motion for                    0.10         $63.00
                   reconsideration objections (.1).
6/17/15      DAL      Draft reply to objections to motions for              3.90      $3,627.00
                      reconsideration (2.5); email Quinn re same (.1);
                      review draft reply in Canada (1.3).
6/18/15       BPG     Participate on weekly UCC call (.6); confer D.        1.50      $1,065.00
                      Lowenthal re: reply, follow-up re: same, review
                      revised draft, attention to e-mails re: same (.9).
6/18/15       CWD Committee call (.7); reviewing docket, OC D.              0.80        $504.00
                   Lowenthal and B. Guiney re response to
                   objections to motions for reconsideration (.1).
6/1 8/1 5    DAL      Committee call (.7); revise reply re motions for      3.30      $3,069.00
                      reconsideration (1.0); update same based on
                      comments from Quinn (.8); emails with Quinn
                      re same (.2); email reply drafts to J. Heaney
                      (.1); revise draft reply for Canada and send
                      comments to E. Lamek (.3); email US draft to
                      S. Miller (.1); send revised draft to Quinn, J.
                      Heaney, and E. Lamek (.2).




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6/19/15       BPG     Review Debtors' reply to objections to motion       2.20       $1,562.00
                      for reconsideration, review bondholders' reply,
                      follow-up re: same (1.8); confer D. Lowenthal
                      re: same (.3); confer C. Dent re: same (.1).
6/19/15       CWD Reviewing replies to objections to motions for           0.40        $252.00
                   reconsideration, OC B. Guiney re same.
6/19/15       DAL     Review draft brief to file in Canada and email       4.50      $4,185.00
                      changes to E. Lamek (.5); review draft US
                      Debtors' brief (1.2); review draft bondholders'
                      brief (.6); emails with S. Miller (.2); email J.
                      Heaney (.2); leave detailed message for M.
                      Riela (.1); review Akin emails (.3); tc B.
                      Guiney re US Debtors' draft reply (.3); tcs Akin
                      re reconsideration briefing (.4); tc J. Heaney re
                      briefing issues (.2); email Committee (.3); tc
                      M. Riela re Debtors' brief (.2).
6/22/15       BPG Reviewing and revising Law Debenture                    2.70       $1,917.00
                    pleading, review Akin draft and follow-up re:
                    same, reviewing revised CGSH draft and
                    follow-up (1.8); additional follow-up re: same,
                    reviewing revised drafts (.5); reviewing revised
                    2019 statements (.1); review trade consortium
                    pleading (.2); attention to filing and service of
                    reply (.1).
6/22/15       CWD E-mails re Committee joinder to US Debtors'              0.20        $126.00
                    reply to objections to motions for
                    reconsideration and Law Debenture response,
                    reviewing same (.1); reviewing docket and
                    2019s, e-mails re same w/D. Lowenthal and B.
                    Guiney (.1).




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6/22/15          DAL Review Committee statement and send                       4.90      $4,557.00
                       comments to Akin (.5); email E. Lamek and J.
                       Tecce re Canadian statement (.1); review
                       Canadian draft and tc with E. Lamek and J.
                       Tecce re same (.7); email S. Miller re filing due
                       today (.1); email E. Lamek re changes to filing
                       due in Canada today (.1); tc B. Guiney re same
                       and oral argument (.2); tc R. Johnson re draft
                       statement to Court (.2); review updated US
                       Debtors' draft reply (.9); work on filings,
                       including review updated US Debtors' and
                       UCC draft replies, tc with J. Heaney re same,
                       and email the Committee re same (1.0); draft
                       client quarterly update (.7); review settlement
                       proposal and related email (.4).
6/23/15          BPG     Review e-mail from B. Kahn re: proposal and           2.30      $1,633.00
                         analysis of same (.5); confer D. Lowenthal re:
                         open issues and June 25 hearing (.5); attention
                         to e-mails and recently-filed pleadings, follow-
                         up e-mails re: hearing preparation (.6); prepare
                         form of order, revise same per D. Lowenthal
                         and send to S. Miller (.6); review agenda for
                         6/25 hearing (.1).
6/23/15          DAL     Emails with S. Miller re filing (.2); finalize        5.70      $5,301.00
                         client update (.3); tc S. Miller re hearing on
                         reconsideration motion (.9); conf B. Guiney re
                         hearing (.5); work on draft Order (.7); emails
                         with J. Tecce, D. Holzman, S. Miller, and E.
                         Lamek re hearing (.2); email E. Lamek re filing
                         (.1); begin preparation for oral argument (2.8).
6/24/1 5         BPG     Follow-up re: revised order, revise same again        2.40      $1,704.00
                         (.2); prepare for hearing, confer D. Lowenthal
                         re: same (.3); prepare for and participate on call
                         with working group, follow-up re: same (.5);
                         reviewing research related to appeal and other
                         open issues (.5); attention to EMEA claims
                         determination issue, follow-up re: same, confer
                         D. Lowenthal re: same, attention to e-mails
                         (.5); tc D. Lowenthal re: oral argument (.3);
                         attention to UST letter re: trade claims
                         consortium (.1).




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6/24/15       CWD    OC B. Guiney re Nortel hearing, reviewing              0.20          $126.00
                     docket (.2).
6/24/15       DAL    Prepare for oral argument (2.9); tc with J.            4.20        $3,906.00
                     Tecce, D. Holzman, S. Miller and B. Guiney re
                     same (.3); revise draft order and send to team
                     (.7); tc E. Lamek re hearing preparation (.3).
6/25/15       BPG    Prepare for, travel to, attend and return from         5.60        $3,976.00
                     hearing (5.6).
6/25/15       DAL    Prepare for and participate in Court hearing on       11.90       $11,067.00
                     reconsideration motions in Delaware, related
                     follow-up, and travel to NY (11.5); memo to J.
                     Heaney re same (.4).
6/26/15       BPG    Confer D. Lowenthal re: hearing (.4); prepare          1.50        $1,065.00
                     for and participate on UCC call, follow-up re:
                     same (.9); review docket (.2).
6/26/15       CWD    OC D. Lowenthal re hearing (.3).                       0.30          $189.00
6/26/15       DAL    Follow-up on reconsideration hearing (2.5).            2.50        $2,325.00

                                                     Total Services       135.90      $114,481.00


               Daniel A Lowenthal          83.60 hours at      $930.00 $77,748.00
               Brian P. Guiney             47.30 hours at      $710.00 $33,583.00
               Craig W. Dent                5.00 hours at      $630.00 $3,150.00


                     Local Travel & Fares                                    248.54
                     Outside Professional Services                           600.85
                     Reproduction                                              0.60
                     Tvl - Meals                                              15.69
                     Tvl. Transportation/Lodging                             395.00

                                                     Total Expenses                     $1,260.68

                                                     Total This Invoice               $115,741,68




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                        Patterson Belknap Webb & Tyler LLP
              1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwicom


Law Debenture Trust Company of New York                                            Invoice No. 829031
400 Madison Avenue                                                                 August 5, 2015
New York, NY 10017                                                                 FEI No. XX-XXXXXXX

 Re: NORTEL                                                                        L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                               For Professional Services Rendered For The Period Ending
                                   July 31, 2015 In Connection With The Following:


7/1/15            BPG      Review update and follow-up re: same (.3).              0.30           $213.00
7/1/15            CWD Reviewing docket and Committee email re                      0.10            $63.00
                       settlement discussions (.1).
7/6/15            BPG      Review and consider decisions on                        1.60         $1,136.00
                           reconsideration from J. Gross and J. Newbould,
                           confer D. Lowenthal re: same, review e-mails
                           from Akin Gump re: same (1.6).
7/6/15            CWD Reviewing Orders re motions for                              0.20           $126.00
                       reconsideration, e-mails re same (.1).
7/6/15            DAL Review three reconsideration decisions/orders                2.20         $2,046.00
                        issued by J. Gross and J. Newbould and email
                        same to J. Heaney, E. Lamek, and J. Tecce/D.
                        Holzman (2.2).
7/7/15           BPG       Prepare for and participate on Committee call,          4.30         $3,053.00
                           follow-up re: same research re: same (1.5); OC
                           D. Lowenthal re: same, incl. TC with S. Miller
                           for part, additional follow-up re: same (2.0);
                           attention to e-mails and follow-up D.
                           Lowenthal re: same (.2); tc same re: same and
                           next steps (.4); confer C. Dent re: same (.2).
7/7/15           CWD OC D. Lowenthal and B. Guiney re opinions re                  0.80           $504.00
                      motions for reconsideration (.8).




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                                                                         L0353-000007


7/7/15        DAL   Review reconsideration decisions with Akin            4.60      $4,278.00
                    (.8); analyze decision and next steps with E.
                    Lamek (.4); tc S. Miller re J. Gross's decision
                    (.1); review local rules, tc with B. Guiney and
                    S. Miller (.5); detailed analysis of decisions and
                    consideration'of oversight, along with tc with J.
                    Rosenthal, tc with E. Lamek and conf B.
                    Guiney (2.4); follow-up with B. Guiney (.4).
7/8/15        BPG   Confer D. Lowenthal re: open issues (.2);             0.90        $639.00
                    consider appeal issues and follow-up (.3);
                    attention to revised decision from J. Newbould
                    (.1); attention to D. Lowenthal e-mail to J.
                    Heaney and consider same (.1); follow-up D.
                    Lowenthal re: same (.2).
7/8/15        CWD   E-mails re revised Canadian decision and             0.20         $126.00
                    appeal issues (.2).
7/8/15        DAL   Emails with E. Lamek re Goodmans' letter to J.       3.30       $3,069.00
                    Newbould (.1); review reconsideration
                    decisions re debtor allocation issue (.2); tc J.
                    Tecce re reconsideration decisions (.4); tc J.
                    Heaney re appeal issues (.2); email S. Miller re
                    status (1.0); conf F. Hodara re next steps (.3);
                    update J. Heaney re same (.5); tc J. Heaney re
                    same (.2); tc BRG re recovery analysis (.4).
7/9/15        BPG   Review recovery analysis and prepare for call        2.20       $1,562.00
                    (.4); participate on same and follow-up D.
                    Lowenthal re: same (1.5); follow-up D.
                    Lowenthal re: appeal, tc same re: same (.3).
7/9/15        CWD   Reviewing BRG analysis re creditor recoveries        0.50         $315.00
                    (.2); reviewing docket (.1); OC B. Guiney re
                    appeal issues (.2).
7/9/15        DAL   Tc F. Hodara re appeal issues and Committee          2.40       $2,232.00
                    call and consider appeal issues (2.2); TC M.
                    Riela re appeal (.2).
7/10/15       BPG   Review draft of motion for leave to appeal (.5);     1.10         $781.00
                    reviewing allocation decisions and decisions on
                    reconsideration per D. Lowenthal (.6).




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